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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

KIMETRA BRICE, EARL BROWNE, and              §
JILL NOVOROT,                                §
      Plaintiffs,                            §          Misc. No. 3:21-mc-00023
                                             §
v.                                           §    (Relates to Case No. 3:18-cv-1200-
                                             §    WHO, in the United States District
HAYNES INVESTMENTS, LLC, and                 §   Court, Northern District of California)
L. STEVEN HAYNES,                            §
      Defendants.                            §

                     APPENDIX IN SUPPORT OF
          HAYNES INVESTMENTS, LLC, AND L. STEVEN HAYNES’S
                     MOTION FOR PROTECTION

Ex. No.                        Document Description                           App. Page

     1    Class Action Complaint and Demand for Jury Trial, dated             001 – 038
          February 23, 2018, in Case No. 3:18-cv-1200-WHO, Kimetra
          Brice et al. v. Haynes Investments, LLC, et al., pending in the
          United States District Court for the Northern District of
          California (“California Lawsuit”).

     2    Notice of Deposition of L. Stephen Haynes, dated February 2,        039 - 041
          2021, in the California Lawsuit.

     3    Amended Notice of 30(b)(6) Deposition of Haynes                     042 - 052
          Investments, LLC, dated February 2, 2021, in the California
          Lawsuit.

     4    Plaintiff’s Second Amended Petition, dated April 6, 2020, in        053 - 088
          Cause No. DC-19-13904, Think Finance, LLC v. L. Steven Haynes,
          et al., pending in the 160th Judicial District Court of Dallas
          County, Texas (the “Texas State Court Lawsuit”).

     5    Deposition Transcript of L. Steven Haynes, Individually, and        089 - 096
          as the Corporate Representative of Haynes Investments, dated
          February 12, 2021, in the California Lawsuit.


                                            1
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Ex. No.                        Document Description                           App. Page

   6       Order Granting Joint Motion to Abate Proceeding Pending            097 - 100
           Settlement, dated August 26, 2020, in the Texas State Court
           Lawsuit.

   7       Declaration of L. Steven Haynes in Support of Motion for           101 - 102
           Protection, dated March 4, 2021.

   8       Email correspondence between Defendants’ Counsel and               103 - 106
           Plaintiffs’ Counsel in the California Lawsuit.

   9       Email correspondence from court reporter and Defendants’           107
           Counsel in the California Lawsuit, dated February 17, 2021.


       Dated: March 4, 2021.

                                        Respectfully submitted,



                                        By: /s/ David A. Walton
                                            David A. Walton
                                            Texas Bar No. 24042120
                                            dwalton@bellnunnally.com
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                                               Counsel for Defendants,
                                               Haynes Investments and L. Steven Haynes




                                           2
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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was sent
to the following parties of record in accordance with the Federal Rules of Civil Procedure
on March 4, 2021.

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       Counsel for Plaintiffs, Kimetra Brice,       Counsel for Plaintiffs, Kimetra Brice, Earl
       Earl Browne, and Jill Novorot                Browne, and Jill Novorot

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                                           By: /s/ David A. Walton
                                               David A. Walton




                                                3
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 6     Attorneys for Plaintiffs
 7
                                    UNITED STATES DISTRICT COURT
 8                                 NORTHER DISTRICT OF CALIFORNIA
 9

10     KIMETRA BRICE, EARL BROWNE,                     :        Case No. ____________________
       and JILL NOVOROT,                               :
11                                                     :
              Plaintiffs,                              :       CLASS ACTION COMPLAINT AND
12                                                     :         DEMAND FOR JURY TRIAL
       v.                                              :
13                                                     :
       KENNETH REES, GPL SERVICING,                    :
14     LTD., PLAIN GREEN, LLC, GREAT                   :
       PLAINS LENDING, LLC, VICTORY                    :
15     PARK CAPITAL ADVISORS, LLC,                     :
       VICTORY PARK MANAGEMENT,                        :
16     LLC, SCOTT ZEMNICK, JEFFREY                     :
       SCHNEIDER, THOMAS WELCH,                        :
17     HAYNES INVESTMENTS, LLC, and                    :
       L. STEPHEN HAYNES,                              :
18                                                     :
              Defendants.                              :
19                                                     :
                                                       :
20

21            Plaintiffs, Kimetra Brice, Earl Browne, and Jill Novorot (collectively “Plaintiffs”), on behalf
22     of themselves and all individuals similarly situated, by Counsel, and for their Class Action
23     Complaint against Defendants Kenneth Rees, GPL Servicing, Ltd., Plain Green, LLC, Great Plains
24     Lending, LLC, Victory Park Capital Advisors, LLC, Victory Park Management, LLC, Scott
25     Zemnick, Jeffrey Schneider, Thomas Welch, Haynes Investments, LLC (“Haynes Investments”),
26     and L. Stephen Haynes (collectively “Defendants”), they allege as follows:
27

28

                                                           1
                                               CLASS ACTION COMPLAINT
                                                                                1                 001
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 1
                                       I.     PRELIMINARY STATEMENT.
 2
              1.      Most states have enacted usury laws that limit the amount of interest that a company
 3
       may charge on a loan. To evade these laws, payday lenders originated their loan products in the
 4
       name of national banks, who were exempt from state interest-rate caps under the National Bank
 5
       Act. See 12 U.S.C. § 85. Under these arrangements, the bank served as a conduit for the loans in
 6
       exchange for a fee, but the payday lender funded, serviced, and collected the loans—a tactic known
 7
       as “rent-a-bank.” When federal regulators began cracking down on these rent-a-bank arrangements,
 8
       the payday lenders developed a solution—they adapted the structure to use Native American tribal
 9
       entities as the conduit to ostensibly cloak the loans in tribal sovereign immunity.1 Hence, the new
10
       structure has been dubbed “rent-a-tribe” lending.
11
              2.      This case involves a rent-a-tribe enterprise that was established with the intent of
12
       evading state usury laws. Prior to establishing the rent-a-tribe enterprise at issue, Defendant
13
       Kenneth Rees (“Rees”) and his company, Think Finance, LLC,2 made millions of dollars through a
14
       rent-a-bank relationship with First Bank of Delaware. After federal regulators shut down the rent-a-
15
       bank arrangement, Think Finance, under the direction of Rees, established a rent-a-tribe lending
16
       scheme with the Chippewa Cree Tribe and Otoe-Missouria Tribe. Under the rent-a-tribe model,
17
       loans were made in the name of Defendants Plain Green, LLC and Great Plains Lending, LLC—
18
       two entities formed under tribal law to serve as the fronts to disguise Defendants’ roles and to
19
       ostensibly shield the scheme by exploiting tribal sovereign immunity. In return for the use of their
20

21

22
       1
         See, e.g., Nathalie Martin & Joshua Schwartz, The Alliance Between Payday Lenders and Tribes:
23     Are Both Tribal Sovereignty and Consumer Protection at Risk?, 69 WASH. & LEE L. REV. 751, 785
       (2012) (providing background on payday loans and describing the rent-a-tribe model as “the most
24     recent incarnation of payday lending companies regulation-avoidance”).
25     2
          Various lawsuits and government enforcement actions have uncovered the enterprise’s
       misconduct. Pennsylvania v. Think Fin., Inc., No. 14-CV-7139 (E.D. Pa.). Faced with mounting
26     pressure from the lawsuits and regulatory actions, Think Finance and its subsidiaries, Think Finance
       SPV, LLC; TC Decision Sciences, LLC; and Tailwind Marketing, LLC filed for bankruptcy on
27     October 27, 2017, to avoid responsibility for the illegal scheme. Think Finance, LLC v. Victory
       Park Capital Advisors, LLC, Case No. 17-03106 (Bankr. Tex.).
28

                                                       2
                                             CLASS ACTION COMPLAINT                             002
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 3 of 38
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 1
       name, the tribal companies received a nominal flat-fee of the revenue from the loans,3 but they
 2
       otherwise had no control over the income, expenses, or day-to-day operations of the businesses.
 3
              3.      Each of the Defendants played an integral role in the scheme. Rees was one of the
 4
       architects of a rent-a-tribe lending enterprise—one of the few in his role yet to be criminally
 5
       prosecuted for his misconduct.4 Rees is the former president and chief executive officer of Think
 6
       Finance, the company that provided the infrastructure to run the lending operation, including the
 7
       software, risk management, application processing, underwriting assistance, collections, and
 8
       customer service for the loans. In short, although Plain Green and Great Plains held themselves out
 9
       as the actual lenders of these internet payday loans, Think Finance controlled the origination and
10
       servicing of the loans under the guise of Plain Green and Great Plains. 5
11
       3
         Although Plain Green received 4.5% of the revenue on paper, these funds were diverted to tribal
12     leaders such as Neal Paul Rosette and Billi Anne Morsette, the former “chief executive officers” of
       Plain Green who were sent to prison for accepting bribes in exchange for facilitating the award of
13     tribal contracts and for helping another tribal member siphon over $55,000 in tribal monies, which
       were laundered through the predecessor company of Plain Green. The United States Attorney’s
14     Office, District of Montana, Plain Green Officials Sent to Prison (March 8, 2016),
       https://www.justice.gov/usao-mt/pr/plain-green-officials-sent-prison. As part of this investigation,
15     the Montana Attorney General’s office uncovered that Rosette, Morsette, and James Eastlick, Jr.,
       each received $400,000 from a consulting company, Ideal Consulting, LLC, involved in the Plain
16     Green operation. Id. In other words, the Chippewa Cree Tribe actually received far less than the
       4.5% allocated to it under the agreement.
17
       4
         See Press Release, The United States Attorney’s Office, Southern District of New York, Scott
18     Tucker Sentenced To More Than 16 Years In Prison For Running $3.5 Billion Unlawful Internet
       Payday Lending Enterprise (Jan. 8, 2018), https://www.justice.gov/usao-sdny/pr/scott-tucker-
19     sentenced-more-16-years-prison-running-35-billion-unlawful-internet-payday; Press Release, The
       United States Attorney’s Office, Eastern District of Pennsylvania, Two Men Found Guilty of
20     Racketeering Conspiracy in Payday Lending Case, (Nov. 27, 2017), https://www.justice.gov/usao-
       edpa/pr/two-men-found-guilty-racketeering-conspiracy-payday-lending-case.
21
       5
         Plaintiffs anticipate that Plain Green and Great Plains will claim to be “arm(s) of the tribe” and
22     thus protected by tribal immunity. Although the doctrine of tribal sovereign immunity protects the
       tribe itself, it does not automatically extend to economic subdivisions of a tribe, and the Court
23     must determine whether these entities are “analogous to a governmental agency, which should
       benefit from sovereign immunity” or whether they are more like a “commercial business
24     enterprise, instituted for the purpose of generating profits for [their] private owners.” Breakthrough
       Mgmt. Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1184 (10th Cir. 2010)
25     (citing Gavle v. Little Six, Inc., 555 N.W.2d 284, 293 (Minn.1996)). In addition to the allegations
       alleged in this Complaint concerning the creation, purpose, and structure of Plain Green and Great
26     Plains, these entities are not entitled to sovereign immunity because nearly all of the profits of the
       scheme went to non-tribal participants and the companies were established for the sole purpose of
27     evading state usury laws. Extending the protections of tribal immunity to Plain Green and Great
       Plains would not serve the policies underlying tribal sovereign immunity.
28

                                                        3
                                              CLASS ACTION COMPLAINT                               003
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 4 of 38
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 1
              4.      Defendant GPL Servicing, Ltd. (“GPLS”) played an integral role in the rent-a-tribe
 2
       enterprise as the special purpose company created to raise and provide the capital to fund the
 3
       hundreds of millions of dollars of illegal loans made to consumers. According to Think Finance
 4
       itself, GPLS was created “to allow investors to purchase interests in the consumer loans originated
 5
       by Native American Tribal lending businesses.” See Complaint ¶ 24, Think Finance, LLC, v.
 6
       Victory Park Capital Advisors, LLC, Case No. 17-03106 (Bankr. Tex.) (explaining the creation of
 7
       GPLS). Defendant Victory Park Capital Advisors, LLC, a private equity firm, owned most of the
 8
       shares of GPLS, but “Victory Park required that Think Finance purchase a portion of the equity in
 9
       GPLS, which it did through Think SPV.” Id. at ¶ 26. The enterprise also raised money from third
10
       party investors. Id. at ¶ 27. The enterprise used the money invested in GPLS to make the illegal
11
       loans to consumers, and in turn, investors in GPLS received an 18-20% fixed-rate return on their
12
       investment—which was guaranteed by Think Finance. Because it bore all the risk and handled the
13
       operations, the remaining profits (which were substantial) were distributed to Think Finance.
14
              5.      Defendant Haynes Investments, LLC provided substantial capital used to make high-
15
       interest loans to consumers and participated in the affairs of the enterprise as explained below. L.
16
       Stephen Haynes is the owner and managing partner of Haynes Investments. Scott Zemnick, Jeffrey
17
       Schneider, and Thomas Welch are partners at Victory Park. Each of these individuals participated
18
       in their respective firms’ decision to invest and reinvest in the enterprise. Each of these individuals
19
       also actively participated in the affairs of the enterprise and helped design the financial and
20
       operational structure of the rent-a-tribe scheme. As a result of their participation in the enterprise
21
       and direct involvement of the underlying illegal conduct, the individuals are jointly and severally
22
       liable for the claims of Plaintiffs and the class members.
23
              6.      Because of their comfort with the rent-a-tribe structure, Defendants’ scheme made
24
       loans in California with annual percentage rates in excess of 400%—more than 40 times the 10%
25
       interest-rate cap in Article XV of California’s Constitution. CAL. CONST. Art. XV § 1. If a lender
26
       makes a loan in violation of Art. XV § 1, then “[n]o person, company, association, or corporation
27

28

                                                        4
                                              CLASS ACTION COMPLAINT                               004
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 5 of 38
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 1
       shall directly or indirectly take or receive in money, goods, or things” and the loan is void. CAL.
 2
       CIV. CODE § 1916-2.
 3
               7.     Based on Defendants’ conduct, Plaintiffs allege violations of the Racketeer
 4
       Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968. Defendants received
 5
       millions of dollars derived from the collection of unlawful debt, and Defendants used and
 6
       reinvested this income to grow the rent-a-tribe enterprise. Further, Defendants acquired and
 7
       maintained interests in the rent-a-tribe enterprise, actively participated in the scheme, and conspired
 8
       with Think Finance and others to repeatedly violate state lending statutes resulting in the collection
 9
       of an unlawful debt from Plaintiffs and the class members. Defendants’ acts described herein are
10
       unlawful as set forth in 18 U.S.C. § 1962(a)-(d).
11
               8.     Plaintiffs also assert a class claim for violations of California’s usury laws and unjust
12
       enrichment. Because the loans exceed California’s 10% annual percentage rate (“APR”) cap,
13
       Defendants were prohibited from taking or receiving money in excess of 10% on the loans. Cal.
14
       Civ. Code § 1916-2. Accordingly, Plaintiffs seek to disgorge all amounts paid by California
15
       consumers, plus treble the amount of such usurious interest that was paid in the two years preceding
16
       the filing of this action. Cal. Civ. Code § 1916-3.
17
                                                 JURISDICTION
18
               9.     This Court has jurisdiction pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1332(d)(2).
19
       Moreover, the Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §
20
       1367.
21
               10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as Plaintiffs Kimetra
22
       Brice and Earl Browne are residents of this District and Division and a substantial part of Plaintiffs’
23
       claims occurred in California.
24
                                                     PARTIES
25
               11.    Plaintiff Kimetra Brice (“Brice”) is a natural person and resident of the Richmond,
26
       California.
27

28

                                                        5
                                              CLASS ACTION COMPLAINT                                005
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 1
                12.     Plaintiff Earl Browne (“Browne”) is a natural person and resident of the Fairfield,
 2
       California.
 3
                13.     Plaintiff Jill Darlene Novorot (“Novorot”) is a natural person and resident of the
 4
       Mission Viejo, California.
 5
                14.     Defendant Kenneth Rees (“Rees”) is a natural person and resident of the state of
 6
       Texas. At all times relevant, Rees was the president and chief executive officer of Think Finance,
 7
       LLC and its subsidiaries, which Rees set up to make and collect on the usurious loans. Rees is also
 8
       the founder, chief executive officer, and sole registered member of Tailwind Marketing, LLC
 9
       (“Tailwind Marketing”) and TC Decision Sciences, LLC (“TC Decisions”).
10
                15.     Defendant GPL Servicing (“GPLS”) is a foreign corporation incorporated under the
11
       laws of the Cayman Islands.
12
                16.     Defendant Plain Green, LLC (“Plain Green”) is a limited liability company doing
13
       business as an internet lending website under the domain name www.plaingreenloans.com. Plain
14
       Green claims to be a “tribal lending entity wholly owned by the Chippewa Cree Tribe of the Rocky
15
       Boy’s Indian Reservation, Montana, a sovereign nation located within the United States.”6 In return
16
       for a small fraction of the revenue, the Chippewa Cree Tribe allowed the lending scheme to use its
17
       name and falsely claim that it is operated by the Chippewa Cree Tribe. At all times relevant hereto,
18
       the Chippewa Cree Tribe did not participate in the day-to-day operations of Plain Green and did not
19
       fund the loans or handle the servicing or collection of the loans.
20
                17.     Defendant Great Plains Lending, LLC (“Great Plains”) is a limited liability company
21
       doing business as an internet lending website under the domain name www.greatplainslending.com.
22
       Great Plains claims to be a “tribal lending entity wholly owned by the Otoe-Missouria Tribe of
23
       Indians, a sovereign nation located within the United States.”7 In return for a small fraction of the
24
       revenue, the Otoe-Missouria Tribe allowed the lending scheme to use its name and falsely claim
25
       that it was “wholly owned” and operated by the Otoe-Missouria Tribe. At all times relevant hereto,
26
       6
           Plain Green, Home, https://www.plaingreenloans.com/Default.aspx (last visited Feb. 22, 2018).
27
       7
           Great Plains, Home, https://www.greatplainslending.com/ (last visited Feb. 22, 2018).
28

                                                         6
                                               CLASS ACTION COMPLAINT                              006
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 1
       the Otoe-Missouria Tribe did not participate in the day-to-day operations of Great Plains and did
 2
       not fund the loans or handle the servicing or collection of the loans.
 3
              18.     Defendant Haynes Investments, LLC (“Haynes Investments”) is a limited liability
 4
       company with a principal place of business in Dallas, Texas. Haynes Investment is a private equity
 5
       company focused on investments related to Native American tribes. Haynes Investments claims that
 6
       its “Native American investments have successfully monetized the tribal advantages of sovereignty
 7
       to enhance yield while substantially reducing risk.”8 As explained below, Haynes Investment
 8
       provided the initial capital to fund the operations of Plain Green.
 9
              19.     Defendant L. Stephen Haynes (“Mr. Haynes”) is the managing partner and owner of
10
       Haynes Investments. Mr. Haynes’s biography indicates that he “is one of the leading business
11
       executives in Native American project finance.”9 Mr. Haynes personally participated in the rent-a-
12
       tribe enterprise and signed each of the agreements used to fund the illegal loans.
13
              20.     Defendant Victory Park Capital Advisors, LLC (“Victory Park”) is a private equity
14
       firm headquartered in Chicago. As explained below, Victory Park invested no less than $250-$300
15
       million in Plain Green and Great Plains.
16
              21.     Defendant Victory Park Management, LLC (“VP Management”) is a wholly owned
17
       subsidiary of Victory Park.
18
              22.     Defendant Scott Zemnick is a partner at Victory Park and the firm’s general counsel.
19
       Zemnick joined Victory Park in 2008 and “oversees the firm’s legal operations and the structuring,
20
       negotiation, execution and protection of the firm’s investment portfolio.”10 As the general counsel,
21
       Zemnick personally participated in the enterprise and had direct personal involvement in the
22
       unlawful conduct alleged herein.
23

24     8
         Haynes Investment, American Indian, http://www.haynesinvestments.net/native-american/ (last
       visited on Dec. 15, 2017).
25
       9
        Haynes Investment, About Us, http://www.haynesinvestments.net/native-american/ (last visited on
26     Dec. 15, 2017).
27     10
          Victory Park Capital, Team – Legal, Investor Relations and Operations, Scott Zemnick,
       https://www.victoryparkcapital.com/legaloperations.html (last visited on Dec. 19, 2017).
28

                                                        7
                                              CLASS ACTION COMPLAINT                            007
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 1
              23.     Defendant Jeffrey Schneider (“Schneider”) is a partner at Victory Park and the
 2
       firm’s chief financial officer. Schneider joined Victory Park in 2010 and “oversees the accounting,
 3
       tax, finance, treasury and fund operations of the firm and assists in the structuring of VPC’s
 4
       investments.”11 As the chief financial officer, Schneider personally participated in the enterprise
 5
       and had direct personal involvement in the unlawful conduct alleged herein.
 6
              24.     Defendant Thomas Welch (“Welch”) is a partner and investment professional at
 7
       Victory Park. According to his biography, Welch is “primarily responsible for sourcing, analyzing,
 8
       executing, and management of direct private debt and equity investments in middle market
 9
       companies within the specialty finance and financial technology sectors.”12 As explained below,
10
       Welch personally participated in the enterprise and had direct personal involvement in the unlawful
11
       conduct alleged herein.
12
                                          FACTUAL BACKGROUND
13
       A.     Statutory and Regulatory Background.
14
              25.      “Usury—the charging of excessive interest rates—is an ancient concept dating back
15
       to the earliest commercial civilizations.”13 Robert R. Rickett, California’s Model Approach to
16
       Usury, 18 Stan. L. Rev. 1381 (1966).
17
              26.     California, which was founded in 1850, has regulated maximum interest rates since
18
       1872. See id. at 1385.
19

20
       11
          Victory Park Capital, Team – Legal, Investor Relations and Operations, Jeffrey Schneider,
21     https://www.victoryparkcapital.com/legaloperations.html (last visited on Dec. 19, 2017).
22     12
          Victory Park Capital, Team – Legal, Investor Relations and Operations, Thomas Welch,
       https://www.victoryparkcapital.com/legaloperations.html (last visited on Dec. 19, 2017).
23
       13
          Usury laws are not unique to California or the United State of America. Indeed, about “a dozen
24     Biblical passages suggest that usurious lending, especially to the poor, is a grave sin.” Christopher L.
       Peterson, “Warning: Predatory Lender”—A Proposal for Candid Predatory Small Loan
25     Ordinances, 69 Wash & Lee L. Rev. 893, 896 n.9 (2012). Echoing these sentiments, Pope Francis
       recently explained that “Usury is a serious sin: it kills life, tramples on the dignity of people, is a
26     vehicle for corruption and hampers the common good. It also weakens the social and economic
       foundations of a country.” Pope Francis, Address to National Anti-Usury Council (Feb. 3, 2018),
27     available at https://zenit.org/articles/pope-francis-usury-humiliates-and-kills.
28

                                                        8
                                              CLASS ACTION COMPLAINT                               008
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 1
               27.     Currently, the law of usury in California is based upon California Constitution article
 2
       XV, section 1, which limits the interest payable “[f]or any loan or forbearance of any money.” Sw.
 3
       Concrete Products v. Gosh Constr. Corp., 798 P.2d 1247, 1249 (Cal. 1990) (quoting Cal. Const.
 4
       Art. XV § 1).
 5
               28.     Thus, “unless a lender falls into one of the exemptions approved by the state
 6
       legislature, it may not charge more than 10% interest per annum on a loan.” Dev. Acquisition
 7
       Group, LLC v. ea Consulting, Inc., 776 F. Supp. 2d 1161, 1164 (E.D. Cal. 2011) (citing CAL.
 8
       CONST. ART. XV § 1).
 9
               29.     “An interest rate in excess of 10% is usurious, and if a lender negotiates a loan at a
10
       usurious rate absent a qualified exemption, the agreement shall be void and the lender will have no
11
       action at law to recover any interest.” Id. (citing Cal. Civ. Code § 1916–2).
12
               30.     California’s usury laws “are primarily designed to penalize those who take
13
       advantage of ‘unwary and necessitous borrowers.’” See id. at 1166 (quoting Fox v. Peck Iron and
14
       Metal Co., Inc., 25 B.R. 674, 692-93 (Bankr. S.D. Cal. 1982)).
15
               31.     Thus, California law allows borrowers to recover all interest paid on the loans in
16
       excess of 10% within the past two years, plus treble damages for any interest paid within the year
17
       preceding the filing of this action and their attorney’s fees and costs. Cal. Civ. Code § 1916-3; Dev.
18
       Acquisition Group, 776 F. Supp. 2d at 1165; Rickett, supra, at 1391.
19
       B.      Overview of tribal lending.
20
               32.     In a “payday” loan, a consumer who can’t afford to wait until payday receives a cash
21
       advance and, in exchange, the lender subtracts a larger amount from the consumer’s paycheck.
22
       Consumers renew the loans when they are unable to pay them off, creating a cycle of mounting
23
       debt.
24
               33.     Over the past decade, payday lending has become “one of the fastest growing
25
       segments of the consumer credit industry,” and as of 2005 “there were more payday-loan stores in
26
       the United States than McDonald’s, Burger King, Sears, J.C. Penney, and Target stores combined.”
27
       Martin & Schwartz, supra, 69 Wash. & Lee L. Rev. at 759 (quoting Karen E. Francis, Note,
28

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 1
       Rollover: A Behavioral Law and Economics Analysis of the Payday Loan Industry, 88 Tex. L. Rev.
 2
       611, 611-12 (2010)).
 3
               34.     It is no secret that “internet payday lenders have a weak history of complying with
 4
       state laws.” Id. at 764.
 5
               35.     Prior to the rent-a-tribe business model, some payday lenders, including Think
 6
       Finance, entered into partnerships with national banks to avoid compliance with state laws.14
 7
               36.     Payday lenders used the banks as the conduit for the loans because the National
 8
       Bank Act (and the federal preemption doctrine) allowed banks to charge “interest at the rate
 9
       allowed by the laws of the State, Territory, or District where the bank” was located, 12 U.S.C. § 85,
10
       and some states do not have any interest rate caps. Wolfe v. Ebert, 37 B.R. 934, 936, n. 3 (D.S.C.
11
       1983) (explaining that South Carolina repealed its usury laws in 1980).
12
               37.     Beginning in 2005, federal regulators began cracking down on rent-a-bank
13
       arrangements, and they were nearly eliminated by 2010—largely by the assessment of penalties and
14
       fines against participating banks. See, e.g., Creola Johnson, America’s First Consumer Financial
15
       Watchdog Is on A Leash: Can the CFPB Use Its Authority to Declare Payday-Loan Practices
16
       Unfair, Abusive, and Deceptive?, 61 CATH. U. L. REV. 381, 399 n.16 (2012).
17
               38.     In response to the crackdown on rent-a-bank arrangement, several payday lenders
18
       reincarnated the lending model through associations with Native American tribes to avoid state
19
       laws. Id.; see also Martin & Schwartz, supra, 69 WASH. & LEE L. REV. at 759.
20
               39.     “In these partnerships, online payday lenders register businesses on Native American
21
       lands and claim to be exempt from lawsuits and state usury caps under tribal sovereign immunity.
22
       Using this doctrine, lenders argue that because their businesses are located on or headquartered
23
       within the borders of a Native American reservation, they are bound by the laws of that reservation
24

25

26     14
         See, e.g., Jean Ann Fox & Edmund Mlerzwinkski, Consumer Fed’n of Am. & U.S. Pub. Interest
       Research Grp., Rent-a-Bank Payday Lending: How Banks Help Payday Lenders Evade State
27     Consumer          Protection   at      17-22      (2001),     available     at       http://
       www.consumerfed.org/pdfs/paydayreport.pdf.
28

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 1
       only, not the laws of the state in which the reservation is located or the state in which the borrower
 2
       resides.” Id.
 3

 4
       C.      Defendants establish a rent-a-tribe enterprise with the Chippewa Cree Tribe after
 5             regulators shut down their rent-a-bank arrangement.
 6             40.     Prior to the creation of the lending scheme at issue, Think Finance used a rent-a-

 7     bank lending model. (See Ex. 1).

 8             41.     Under this arrangement, loans were originated in the name of First Bank of

 9     Delaware, but it served as nothing more than a nominal lender on behalf of Think Cash, Inc.

10     (“Think Cash”), Think Finance’s predecessor. (Ex. 1 at TF-PA-504641).

11             42.     In return for the use of its name, First Bank of Delaware received 10% of the

12     revenue from the loans. (Ex. 1 at TF-PA-504640).

13             43.     By contrast, through its wholly owned subsidiary TC Administrative, Think Cash

14     received the “excess” of the cash flow after accounting for losses, management fees, and fixed rate

15     interest payments to investors, i.e., the third parties who invested money to allow Think Cash to

16     grow the scheme. (Ex. 1 at TF-PA-504640).

17             44.     The Federal Deposit Insurance Corporation took steps to shut down Think Finance’s

18     arrangement with First Bank of Delaware through a cease and desist order directing it to terminate

19     its relationship with “all third-party lending programs.”15

20             45.     In response, Rees developed a solution for Think Finance—he decided to use the

21     rent-a-tribe model as the new method to continue the scheme.16

22
       15
          See, e.g., In the Matter of First National Bank, Case No. FDIC-07-256b, Order to Cease and
23     Desist, Order for Restitution, and Order to Pay (Oct. 9, 2008), available at
       https://www.fdic.gov/bank/individual/enforcement/2008-10-03.pdf.
24
       16
          See, e.g., Ben Walsh, Outlawed By The States, Payday Lenders Take Refuge on Reservations,
25     Huffington       Post     (June       29,     2015,         updated    Sept.      8,     2015),
       http://www.huffingtonpost.com/2015/06/29/online-payday-lenders-reservations_n_7625006.html
26      (“But by 2010, various federal regulators had all but shut down the [rent-a-bank] arrangement.
       Rees needed a new way to keep his business alive. The solution he found was relatively
27     straightforward: He’d work with Native American tribes . . . .”).
28

                                                       11
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 1
              46.     Indeed, Rees frankly informed the media that Think Finance abandoned doing direct
 2
       lending itself because “byzantine state laws” cut into the profits.17
 3
              47.     According to Rees, Native American tribes did not “have to look to each state’s
 4
       lending laws,” and, thus, Think Finance solicited the Chippewa Cree Tribe to participate in the
 5
       venture.
 6
              48.     Shortly thereafter, the key companies involved in the enterprise—Think Finance,
 7
       Haynes Investments, and Victory Park (through GPLS)—entered into a term sheet with the
 8
       Chippewa Cree Tribe dated March 11, 2011. (Ex. 2).
 9
              49.     Pursuant to the term sheet, Think Finance agreed to provide the infrastructure to run
10
       the lending operations, including the software, “risk management, application processing,
11
       underwriting assistance, payment processing, and ongoing service support” for consumer loans in
12
       the name of the Chippewa Cree Tribe. (Ex. 2 at 1).
13
              50.     On the other hand, Haynes Investments agreed to “provide funding to the Tribe to
14
       enable it to make each of the Loans,” and to fund Plain Green’s bank account with “sufficient
15
       monies to fund one business day of Loans based upon the average Loan volumes for the preceding
16
       month.” (Ex. 2 at 1-2.)
17
              51.     Consistent with the term sheet, Haynes Investments provided the funds to Think
18
       Finance, which could only be used to fund loans originated in the name of Plain Green. (Ex. 2).
19
              52.     After the loans were originated in the name of Plain Green, 99% of the loans were
20
       “purchased” within two days by GPLS—an employee-less company who created by Victory Park
21
       “to allow investors to purchase interests in the consumer loans originated by Native American
22
       Tribal lending businesses.” See Think Finance, LLC, v. Victory Park Capital Advisors, LLC, Case
23
       No. 17-03106 (Banc. Tex.) (Dkt. 1, Compl. at ¶ 24) (explaining Victory Park’s creation of GPLS).
24

25

26     17
          Carter Dougherty, Payday Lenders and Indians Evading Laws Draws Scrutiny (June 4, 2012),
       http://stoppredatorygambling.org/wp-content/uploads/2012/12/2012-Payday-Lenders-and-Indian-
27     Tribes-Evading-Laws-Draw-Scrutiny.pdf.
28

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 1
                53.    As part of this process, GPLS refunded 99% of the funds provided by Haynes
 2
       Investments, who also received: (1) 5% interest on the money loaned to the Tribe, and (2) 1% of the
 3
       revenue collected on the loans as a “referral” fee.
 4
                54.    By contrast, GPLS paid “the Tribe 4.5% of cash revenue received” on the loans
 5
       received by GPLS, as well as reimbursement for costs and expenses. (Ex. 1 at 2).
 6
                55.    After accounting for all expenses, GPLS paid a 20% fixed rate of return to Victory
 7
       Park and the remaining revenue was distributed to TC Administrative Service, a wholly owned
 8
       subsidiary of Think Finance.
 9
       D.       The initial structure of the rent-a-tribe venture involving Great Plains.
10
                56.    On or around January 12, 2011, Think Finance pitched a similar rent-a-tribe
11
       arrangement to the Otoe-Missouria Tribe. (Ex. 3).
12
                57.    As part of the presentation, Think Finance provided the Otoe-Missouria Tribe with
13
       an overview of its financial products, (Ex. 3 at TF-PA1677), the underwriting chain of command
14
       for the loans (Ex. 3 at TF-PA1680), the marketing strategy for the loans (Ex. 3 at TF-PA1680), the
15
       lending structure, and key contractual agreements, including a loan purchase agreement where
16
       GPLS would purchase loans originated by Great Plains within two days (Ex. 3 at TF-PA1681-
17
       1682).
18
                58.    Great Plains did not exist prior to this meeting, and, as part of Think Finance’s
19
       presentation, the next steps were “[c]reate tribal entity—Great Plains Lending, LLC,” “setup tribal
20
       bank account at FBD,” “review/approve consumer legal documents,” and “[r]eview/sign contractual
21
       agreements.” (Ex. 3 at TF-PA1686).
22
                59.    Indeed, Think Finance had already registered the domain name for the Great Plains
23
       website, developed the text and graphics for the website, and raised the funds to make the loans—
24
       the final step was securing the tribe to serve as the front for the loans. (Ex. 3 at TF-PA1678).
25
                60.    On February 24, 2011, the Otoe-Missouria accepted Think Finance’s proposal, and
26
       Think Finance transferred the web address, www.greatplainslending.com, to Great Plains.
27

28

                                                        13
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 1
              61.     On this same day, Kenneth Rees instructed Think Finance’s key employees to “start
 2
       your engines!!” (Ex. 4, at TF-VA001630).
 3
              62.     Great Plains’ structure virtually copied the structure of Plain Green except that Great
 4
       Plains received 6% of the revenues. (Ex. 3 at TF-VA1682).
 5

 6

 7

 8
       E.     Rees signed the key documents to establish and operate the rent-a-tribe enterprise.
 9
              63.     TC Administrative, Tailwind, and TC Decision Sciences—all subsidiaries of Think
10
       Finance—served a dual purpose of returning as much money as possible to Think Finance, while at
11
       the same time concealing Think Finance’s role in the scheme.
12
              64.     For example, TC Administrative participated in the lending scheme as the designated
13
       administrative service provider and, more importantly, as the pass-through entity that received
14
       Think Finance’s share of the profits of the scheme. (Ex. 3 at TF-VA1682).
15
              65.     TC Administrative Services received the “net income” from the enterprises after
16
       accounting for the fixed return of 18-20% allocated to Victory Park for providing the capital to fund
17
       the loans through GPLS. (Ex. 3 at TF-VA1682).
18
              66.     The relationship between TC Administrative and GPLS was formalized through an
19
       “Administrative Agency Agreement,” signed by Rees as the chief executive officer of TC
20
       Administrative. (Ex. 5 at TF-VA000200-231).
21
              67.     The Administrative Agency Agreement explains that Great Plains will “originate
22
       certain loans” to borrowers and “GPLS will purchase certain” loans from Great Plains. (Ex. 5 at TF-
23
       VA000200).
24
              68.     GPLS hired TC Administrative, an employee-less company, as “a provider of certain
25
       management and administrative agent services,” including: (1) establishing an account system and
26
       maintaining account ledgers for GPLS; (2) performing daily loan settlement reporting and
27
       accounting; (3) disbursing funds for the purchase of the loans by GPLS; (4) depositing funds
28

                                                      14
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 1
       reflecting all principal, interest, fees and other amounts collected from borrowers into GPLS’
 2
       collection account; and (5) paying the fixed return to GPLS’s investors. (Ex. 5 at TF-VA000206-7
 3
       at § 2.2(a)-(p)).
 4
               69.     Rees also signed the “Licensing and Support Agreement” between Great Plains and
 5
       TC Decision Sciences, another subsidiary of Think Finance. (Ex. 6, at TF-VA589).
 6
               70.     Pursuant to this agreement, TC Decision Sciences participated in the enterprises as
 7
       the website operator and software administrator for Plain Green and Great Plains. (See, e.g., Ex. 6;
 8
       Ex. 3 at TF-VA1682).
 9
               71.     In return, TC Decision Sciences received $50 for each loan funded, as well as $150
10
       an hour for work and services it provided. (Ex. 6, at TF-VA590).
11
               72.     TC Decision Sciences also handled servicing responsibilities for Plain Green and
12
       Great Plains pursuant to servicing agreements, which were also signed by Rees. (See, e.g., Ex. 7 at
13
       TF-VA610-616).
14
               73.     TC Decision Sciences servicing responsibilities included “customer support and
15
       collection services” under the guise of Great Plains. (Ex. 7 at TF-VA616). In exchange, TC
16
       Decision Sciences received $5 per month for each active account.
17
               74.     Pursuant to a marketing agreements—also signed by Rees—Tailwind handled the
18
       online and other advertisements for Plain Green and Great Plains. (See, e.g., Ex. 8 at TF-VA594
19
       (“Tailwind shall perform services reasonably required to market Loans within the parameters
20
       established by [Great Plains], via one or more websites, search engine optimization, call centers or
21
       other marketing channels….”)).
22
               75.     Tailwind also handled the lead generation used to identify and solicit potential
23
       consumers,18 and Tailwind received $100 for every borrower provided to Plain Green and Great
24
       Plains. (Ex. 8, at TF-VA608).
25
       18
         In order to find potential customers, internet lenders pay companies known as “lead generators,”
26     which are businesses that collect information on potential consumers to solicit for high-interest
       loans. Pew Charitable Trust, Fraud and Abuse Online: Harmful Practices in Internet Payday
27     Lending      (Oct.    2014),      http://www.pewtrusts.org/~/media/assets/2014/10/payday-lending-
       report/fraud_and_abuse_-online_harmful_practices_in_internet_payday_lending.pdf.
28

                                                      15
                                             CLASS ACTION COMPLAINT                             015
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 1
               76.    Like the Chippewa Cree Tribe, the Otoe Missouria Tribe did not provide any of its
 2
       money to make the loans.
 3
               77.    Instead, GPLS deposited the initial $1 million used to fund the illegal loans made in
 4
       the name of Great Plains. (Ex. 9, Flow of Funds Overview, ¶ 1).
 5
               78.    After the loans were originated in the name of Great Plains—a process that had no
 6
       tribal involvement—Great Plains “sold the loans at book value to GPLS,” and the “proceeds from
 7
       selling the participating interests” were then used by Great Plains “to originate additional loans.”
 8
       (Ex. 9 ¶ 3).
 9
               79.    A third-party bank then “processed customer payments on loans via ACH each day”
10
       and deposited those payments “into a Collection Account” belonging to GPLS. (Ex. 9 ¶ 4).
11
               80.    At the end of each month, GPLS performed a “reconciliation of all cash revenue,”
12
       and the revenue was remitted according to the contracts whereby 6% of the cash revenue collected
13
       was remitted to Great Plains.
14
               81.    Great Plains’ 6% percent, however, was illusory as it was reduced by payments to
15
       Tailwind and TC Decision Sciences. (Ex. 9 at ¶¶ 8-9).
16
       F.      Haynes Investments and Mr. Haynes’s role in the enterprise.
17
               82.    As explained above, Haynes Investments provided the initial capital used to fund the
18
       Plain Green loans.
19
               83.    Consistent with the term sheet, Haynes Investments provided the funds to Think
20
       Finance, which could only be used to fund loans originated in the name of Plain Green. (Ex. 2).
21
               84.    As a result, Haynes Investments received monthly payments from Think Finance.
22
               85.    Due to the success of the operation and the returns earned by Haynes Investments,
23
       increased its investment on several occasions.
24
               86.    Upon information and belief, Haynes Investment increased its investment in Plain
25
       Green on multiple occasions from April 2011 through February 2015, resulting in substantial
26
       returns to Haynes Investments and Mr. Haynes.
27

28

                                                        16
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 1
              87.     Haynes did not merely invest in the rent-a-tribe enterprise. Rather, Haynes used his
 2
       connections to assist the enterprise’s efforts to collect unlawful debt.
 3
              88.     Among other things, Haynes played an integral role in helping the enterprise obtain a
 4
       bank willing to process payments through the Automated Clearing House Network (the “ACH
 5
       Network”), an electronic payment processing system regulated by the National Automated Clearing
 6
       House Association (“NACHA”).
 7
              89.     Unlike other financial networks, the ACH Network allows financial institutions to
 8
       send or take money directly out of a bank account without the requirement of a direct relationship
 9
       between the financial institution and the borrower.
10
              90.     Without access to the ACH Network, a payday lender would not be able to
11
       electronically process payments in batches or without participation of the consumer—necessary
12
       functions of companies who specialize in providing small dollar loans over the Internet. Elizabeth
13
       G. Balassone & Lauren L. Wroblewski, 17 No. 2 Fintech L. Rep. 1 (Mar. 2014) (explaining that
14
       “online lenders predominantly rely on electronic withdrawals and deposits to the consumer’s bank
15
       account,” which are carried out through bank connected to the ACH Network).
16
              91.     Because of the vital role played by the ACH Network, “[s]tate and federal
17
       regulators, as well as the Department of Justice, have seized on the ACH Network as a way to stop
18
       online lending by out-of-state lenders.” Id.
19
              92.     For example, in August 2013, the New York Department of Financial Services
20
       issued a cease and desist to 117 banks placing “‘the onus on the banks originating the debits’” to
21
       “ensure the legality of the underlying transactions submitted” through the ACH Network. Id.
22
       (quoting Letter from Benjamin M. Lawsky, New York Department of Financial Services “Re:
23
       Illegal Online Payday Loans Offered and Sold to New York Customers”, available at
24
       http://www.dfs.ny.gov/about/press2013/pr130806-link1.pdf).
25
              93.     Similarly, the Department of Justice launched “Operation Choke Point,” an initiative
26
       aimed at financial institutions working with online lenders.
27

28

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 1
              94.     In doing so, the Executive Director of the Financial Fraud Task Force explained that
 2
       the government had “prioritized the role of financial institutions in mass marketing fraud
 3
       schemes—including deceptive payday loans[.]” Michael J. Bresnick, Executive Director, Financial
 4
       Fraud Enforcement Task Force, Address at the Exchequer Club of Washington, D.C. (Mar. 20,
 5
       2013), http://www.justice.gov/iso/opa/doj/speeches/2013/opa-speech-130320.html.
 6
              95.     Plain Green and Great Plains’ were targeted by state and federal regulators and, as a
 7
       result, banks ceased processing the debits and credits on their loans.
 8
              96.     Upon information and belief, Mr. Haynes played a critical role in finding a new bank
 9
       to partner with Plain Green and Great Plains.
10
              97.     Upon information and belief, based on his rapport with the Tribes through prior
11
       transactions, Mr. Haynes also acted as the liaison between Think Finance and the Tribes.
12
       G.     Victory Park’s creation and control of GPLS.
13
              98.     Victory Park, through its ownership interest in and control over GPLS, provided
14
       substantial capital to fund the loans to consumers and worked together with the other entities
15
       described herein to systemically perpetrate fraud and to scam consumers.
16
              99.     GPLS was a company created by Think Finance and Victory Park “to allow
17
       investors to purchase interests in the consumer loans originated by Native American Tribal lending
18
       businesses.” See Think Finance, LLC, v. Victory Park Capital Advisors, LLC, Case No. 17-03106
19
       (Banc. Tex.) (Dkt. 1, Compl. at ¶ 24) (explaining Victory Park’s creation of GPLS).
20
              100.    As explained above, GPLS purchased 99% of the interests in the loans originated by
21
       Plain Green and Great Plains within two days of the origination.
22
              101.    According to Think Finance’s verified complaint against Victory Park, “Victory
23
       Park was the primary investor in a loan participation venture, GPLS,” but “Victory Park required
24
       that Think Finance purchase a portion of the equity in GPLS, which it did through Think SPV.”
25
       Think Finance, Case No. 17-03106 (Banc. Tex.) (Dkt. 1, Compl. at ¶ 26).
26
              102.    Victory Park also raised money from third party investors to further grow the
27
       scheme. As part of this effort, Victory Park issued classes “shares to investors,” in GPLS including
28

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 1
       funds named “Series I-A and I-B, Series II and Series III.” Think Finance, Case No. 17-03106
 2
       (Banc. Tex.) (Dkt. 1, Compl. ¶ 27).
 3
              103.    Victory Park and Think Finance collected the revenue generated from the consumer
 4
       loans and after payment of all operating expenses, the loan program would distribute the fixed rate
 5
       return to investors in GPLS and distribute the remaining revenue to Think Finance.
 6
              104.    Victory Park managed the distribution of interest payments to those investors and
 7
       Victory Park received a 1% management fee off the top of those interest distributions.
 8
              105.    The shares, however, did not come with any management rights or entitle
 9
       shareholders to exercise any voting rights relating to the management of GPLS. Think Finance,
10
       Case No. 17-03106 (Banc. Tex.) (Dkt. 1, Compl. ¶ 28).
11
              106.    Instead, Victory Park also created “Management Shares,” which were 100% owned
12
       and controlled by Victory Park, albeit through VP Management.
13
              107.    Victory Park also substantially invested and reinvested its own funds into GPLS,
14
       including a $100 million dollar investment on or around July 2010.19
15
              108.    Victory Park continued to invest and reinvest amounts in GPLS, including a $50
16
       million dollar investment in late 2012, and additional nine figure investments between 2013-2016.
17
              109.    As a result Victory Park continue to receive large payouts on their investment,
18
       including: (1) $75 million on March 31, 2017, (ii) $14 million on May 1, 2017, (iii) $42 million on
19
       May 10, 2017, and (iv) $6.2 million on May 31, 2017.
20
              110.    Victory Park not only invested hundreds of millions of dollars in Plain Green and
21
       Great Plains, but Victory Park also participated in the affairs of the rent-a-tribe enterprise.
22
              111.    On March 18, 2011, GPLS entered into a Participation Agreement with Plain Green,
23
       which was signed by Scott Zemnick as General Counsel for Victory park. (Ex. 10, Mar. 18, 2011
24
       Participation Agreement).
25

26

27     19
         This investment was used to purchase loans originated by the rent-a-bank arrangement between
       Think Finance/FBD, which were transferred to GPLS after the creation of the rent-a-tribe scheme.
28

                                                        19
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 1
              112.    Consistent with the Term Sheet, the Participation Agreement provided GPLS with
 2
       the “right, but not the obligation,” to purchase 99% of the participation interests in the loans
 3
       originated in the name of Plain Green.
 4
              113.    In addition to the Participation Agreement, Victory Park also entered into an
 5
       Administrative Agency Agreement with TC Administrative in which Victory Park appointed TC
 6
       Administrative as its agent for the purpose of managing the enterprise’s cash accounts. (Ex. 5).
 7
              114.    Under the Administrative Agency Agreement, Victory Park agreed to pay TC
 8
       Administrative all residual revenues after payment of the tribe’s “service fee” and Victory Park’s
 9
       20% return, which was further guaranteed by “Guaranty and Security Agreement” between Victory
10
       Park and Think Finance. (Ex. 11, Mar. 18, 2011 Guaranty and Security Agreement).
11
              115.    Because of the structure of the Participation Agreement, Victory Park controlled
12
       whether and to what extent loans originated in the name of Plain Green and Great Plains.
13
              116.    When Victory Park stopped purchasing the participation interests, Plain Green and
14
       Great Plains stopped originating loans.
15
              117.    For example, after the New York Department of Financial Services issued the cease
16
       and desist to Great Plains, Victory Park cut off funding to both Plain Green and Great Plains, which
17
       caused them to stop making new loans. Pennsylvania by Shapiro v. Think Fin., Inc., No. 14-CV-
18
       7139, 2018 WL 637656, at *3 (E.D. Pa. Jan. 31, 2018) (describing an e-mail from Think Finance’s
19
       CFO explaining that GPLS would stop purchasing loans due to the loss in Otoe-Missouria Tribe of
20
       Indians v. New York State Dep't of Fin. Servs., 974 F.Supp.2d 353 (S.D.N.Y. 2013), and GPLS’s
21
       failure to purchase would cause “the tribal portfolios” to “go into wind down.”).
22
              118.    Victory Park not only invested in the rent-a-tribe ventures and controlled the amount
23
       of money available to the enterprise, but it also identified and solicited potential investors in the
24
       scheme.
25
              119.    For example, Victory Park was successful in recruiting a number of large investors
26
       in the scheme, including at least one foreign institutional investor who decided to make the
27

28

                                                        20
                                                CLASS ACTION COMPLAINT                            020
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 1
       investment after Victory Park and Think Finance’s executives traveled overseas to pitch the rent-a-
 2
       tribe venture.
 3
       H.       Zemnick, Schneider, and Welch’s personal involvement in the affairs of the enterprise.
 4
                120.    During all relevant times, Zemnick, Schneider, and Welch were partners at Victory
 5
       Park and participated in the affairs of the rent-a-tribe enterprise.
 6
                121.    At all times relevant hereto, Zemnick, Schneider, and Welch directly and actively
 7
       managed Victory Park’s activities with Plain Green, Great Plains, and Think Finance.
 8
                122.    Zemnick, Schneider, and Welch handled the day-to-day operation of Victory Park
 9
       with respect to its relationship with Plain Green, Great Plains, and Think Finance.
10
                123.    For example, Zemnick oversaw and personally directed the legal operations of
11
       Victory Park and participated in the structuring, negotiation, and execution of critical documents
12
       needed to establish and operate the enterprise.
13
                124.    Among other things, Zemnick personally participated in the structuring, negotiation,
14
       and execution of the Term Sheet, the Participation Agreement, the Administrative Agency
15
       Agreement, the Guaranty and Security Agreement, and all subsequent amendments of those
16
       agreements.
17
                125.    Each one of these documents were signed by Zemnick on behalf of Victory Park, as
18
       well as multiple amendments to each of the documents.
19
                126.    Moreover, all notices required to be given under the agreements were to be delivered
20
       to Zemnick.
21
                127.    By contrast, Schneider and Welch actively managed Victory Park’s investment in
22
       GPLS, including receipt and review of weekly reports from Think Finance regarding the
23
       performance of Plain Green and Great Plains.
24
                128.    Schneider and Welch also directed the major business decisions of Victory Park and
25
       GPLS with respect to the rent-a-tribe venture, including decisions on when to cease funding for the
26
       loans.
27

28

                                                         21
                                               CLASS ACTION COMPLAINT                            021
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 22 of 38
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 1
              129.      Zemnick, Schneider, and Welch knew the subject loans were a scam and illegal
 2
       under state laws, but they nonetheless pursued the rent-a-tribe venture anyway, and continued to
 3
       fund the loans even after Great Plains’ loss in Otoe-Missouria Tribe, 974 F.Supp.2d at 356 (“There
 4
       is simply no basis… that the Tribes are treated differently from any other individuals or entities that
 5
       enter New York to lend to a New York resident.”).
 6
              130.      As a result, Zemnick, Schneider, and Welch are jointly and severally liable for the
 7
       claims herein.
 8
       I.     Defendants’ loans charged interest in violation of California’s usury laws and RICO.
 9
              131.      Defendants, together with Think Finance and its subsidiaries, marketed, initiated,
10
       and collected usurious loans in California.
11
              132.      Under the terms of the standard loan agreements, the interest rates charged were
12
       significantly greater than 10% APR—often between 118% and 448%, if not higher.
13
              133.      Plaintiffs obtained loans from Plain Green and Great Plains—each of those loans had
14
       interest rates far in excess of 10% APR.
15
              134.      For example, Brice’s interest rate was 287.86% (Ex. 12 at 2)
16
              135.      Similarly, one of the Great Plains loans made to Novorot had an interest rate of
17
       258.61% (Ex. 13 at 2).
18
              136.      Absent several exceptions—none of which apply in this case—California’s
19
       Constitution prohibits any person from making loans to consumers in excess of 10% APR. Cal.
20
       Const. Art. XV § 1.
21
              137.      If a lender makes a loan in violation of Art. XV § 1, then “[n]o person, company,
22
       association, or corporation shall directly or indirectly take or receive in money, goods, or things”
23
       and the loan is void. Cal. Civ. Code § 1916-2.
24
              138.      Plaintiff Brice paid no less than $2,634.40 on her loans with Great Plains, including
25
       $1,940.75 within the past year—most of which was credited to interest and fees.
26

27

28

                                                        22
                                               CLASS ACTION COMPLAINT                              022
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 23 of 38
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 1
               139.   Plaintiff Browne paid no less than $10,250.20 on his loans with Plain Green and
 2
       Great Plains, including $2,377.05 within the past year—most of which was credited to interest and
 3
       fees.
 4
               140.   Plaintiff Novorot paid no less than $6,179 on her loans with Great Plains, including
 5
       $3,518.64 within the past year—most of which was credited to interest and fees.
 6
               141.   Because the interest rates on Plaintiffs’ loans exceeded 10%, it was unlawful for any
 7
       person, including Defendants, to collect or receive any interest, fees or charges on the loans.
 8
               142.   Upon information and belief, Defendants collected more than $100 million dollars
 9
       from California consumer pursuant to these illegal loans within the past four years.20
10
               143.   Pursuant to Cal. Civ. Code § 1916-3, Plaintiffs and the class members are entitled to
11
       recoup the any excess interest paid on these loans, as well as treble damages for any interest paid
12
       within the prior year.
13
               144.   Defendants’ conduct also violated § 1962(c) of RICO, which prohibits the
14
       “collection of unlawful debt.” 18 U.S.C. § 1962(c).
15
               145.   RICO defines “unlawful debt” as a debt that was incurred in connection with “the
16
       business of lending money or a thing of value at a rate usurious under State or Federal law, where
17
       the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6).
18
               146.   Defendants charged an interest rate far in excess of the enforceable rate established
19
       by Cal. Const. Art. XV § 1, and, thus, Defendants violated RICO’s prohibition against the
20
       collection of unlawful debt.
21
               147.   As a result of Defendants’ participation in the enterprise and violations of RICO,
22
       Defendants are jointly and severally liable to Plaintiffs and the putative class members for their
23
       actual damages, treble damages, costs, and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
24

25

26     20
         Plaintiff provides this estimate based interrogatory responses from Think Finance indicating that
       $69.4 million was collected from Virginia consumers—a state with 21% of the population of
27     California.
28

                                                        23
                                              CLASS ACTION COMPLAINT                               023
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 1
                                       COUNT ONE:
 2                         VIOLATIONS OF RICO, 18 U.S.C. § 1962(a)
            (CLASS CLAIM AGAINST GPLS, VICTORY PARK, SCOTT ZEMNICK, JEFFREY
 3             SCHNEIDER, THOMAS WELCH, HAYNES INVESTMENTS, MR. HAYNES)
 4            148.      Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth at

 5     length herein.

 6            149.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

 7     claim against Defendants,21 for themselves and on behalf of a class initially defined as:

 8            All consumers residing in California when they entered into a loan agreement with Plain
              Green or Great Plains.
 9
              150.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this
10
       claim for themselves and on behalf of a subclass initially defined as:
11
              All consumers residing in California when they entered into a loan agreement with
12            Plain Green or Great Plains where the loan was originated and/or any payment was
              made on or after February 22, 2014.22
13
              151.      Numerosity. Fed. R. Civ. P 23(a)(1). Numerosity will be easily satisfied in this case
14
       based on the number of loans at issue in California. Additionally, the names and addresses of the
15
       class members are identifiable through the internal business records maintained by Defendants
16
       and/or Think Finance, and the class members may be notified of the pendency of this action by
17
       published and/or mailed notice.
18
              152.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).
19
       Common questions of law and fact exist as to all members of the putative class, and there are no
20
       factual or legal issues that differ between the putative class members. These common questions
21
       predominate over the questions affecting only individual class members. The common questions
22

23     21
          For the purpose of simplicity, Plaintiffs use the term “Defendants” in this Count to refer to all
       Defendants except Rees, Plain Green, and Great Plains. Plaintiffs do not assert a § 1962(a) violation
24     as to Rees, Plain Green or Great Plains.
       22
          Plaintiffs allege a subclass because they anticipate Defendants will argue that RICO’s four-year
25     statute of limitations applies to any loans originated or payments made prior to February 23, 2014.
       However, “the Supreme Court has established that the discovery-of-injury accrual rule applies to
26     civil RICO actions.” Dickerson v. TLC The Laser Eye Ctr. Inst., Inc., 493 F. App’x 390, 393 (4th
       Cir. 2012) (citing Rotella v. Wood, 528 U.S. 549, 556 (2000). Because consumers could not have
27     known or reasonably discovered their injuries caused by Defendants’ conduct, the proper class
       should include all consumers who entered into a loan agreement with Plain Green or Great Plains.
28

                                                         24
                                                CLASS ACTION COMPLAINT                                024
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 1
       include: (1) whether Think Finance, Plain Green, Great Plains, the Chippewa Cree Tribe, the Otoe-
 2
       Missouria Tribe, GPLS, Haynes Investments, and Victory Park constitute an “enterprise” under
 3
       RICO; (2) whether Defendants received income derived from the unlawful collection of debt; (3)
 4
       whether Defendants used or invested the part of that income to acquire an interest in, to establish, or
 5
       to operate the enterprise; and (4) what is the proper recovery for Plaintiffs and the class members
 6
       against each of the Defendants.
 7
              153.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 8
       each putative class member. Plaintiffs are entitled to relief under the same causes of action as the
 9
       other members of the putative class. Additionally, Plaintiffs’ claims are based on the same facts and
10
       legal theories as each of the class members.
11
              154.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
12
       representatives of the putative class because their interests coincide with, and are not antagonistic
13
       to, the interests of the members of the class that they seek to represent. Plaintiffs have retained
14
       counsel competent and experienced in such litigation, and they intend to continue to prosecute the
15
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
16
       members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them
17
       to not vigorously pursue this action.
18
              155.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the
19
       class members predominate over questions affecting only individual members, and a class action is
20
       superior to other available methods for fair and efficient adjudication of the controversy. The
21
       damages sought by each member are such that individual prosecution would prove burdensome and
22
       expensive. It would be virtually impossible for members of the class individually to effectively
23
       redress the wrongs done to them. Even if the members of the class themselves could afford such
24
       individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized
25
       litigation presents a potential for inconsistent or contradictory judgments and increases the delay
26
       and expense to all parties and to the court system presented by the legal and factual issues raised by
27
       Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the
28

                                                       25
                                               CLASS ACTION COMPLAINT                              025
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 1
       litigants and the Court by allowing the Court to resolve numerous individual claims based upon a
 2
       single set of proof in a case.
 3
               156.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class
 4
       certification is appropriate because Defendants acted on grounds generally applicable to the class,
 5
       making appropriate injunctive relief with respect to Plaintiffs and the class members. Plaintiff and
 6
       the putative class seek an injunction prohibiting Defendants from continued collection of these
 7
       illegal loans; prohibiting Defendants from continuing to engage in any enterprise pled herein; and
 8
       ordering the dissolution of each Defendant that has engaged in any enterprise pled herein.
 9
               157.    All of the loans made to California residents included an interest rate far in excess of
10
       twice the enforceable rate in California and, thus, the loans constitute “unlawful debt” under RICO.
11
       18 U.S.C. § 1961(6).
12
               158.    As alleged above, Defendants violated § 1962(a) of RICO through the receipt of
13
       income derived, directly and indirectly, through collection of unlawful debt; and through the use
14
       and reinvestment of parts of such income to acquire interests in and to further establish and assist
15
       the operations of the enterprise.
16
               159.    Defendants participated in the collection of the unlawful debt as a principal by
17
       aiding, abetting, procuring proceeds from the enterprise, and willfully investing money for the
18
       purpose of the unlawful scheme.
19
               160.    Plaintiffs and the class members were injured as a result of Defendants’ violations of
20
       18 U.S.C. § 1962(a) because the loans would not have been made but for Defendants’ investment
21
       and participation in the enterprise.
22
               161.    Accordingly, the Defendants are jointly and severally liable to Plaintiffs and the
23
       putative class members for their actual damages, treble damages, costs, and attorney’s fees pursuant
24
       to 18 U.S.C. § 1964(c).
25

26

27

28

                                                        26
                                               CLASS ACTION COMPLAINT                               026
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 1
                                       COUNT TWO:
 2                         VIOLATIONS OF RICO, 18 U.S.C. § 1962(b)
            (CLASS CLAIM AGAINST GPLS, VICTORY PARK, SCOTT ZEMNICK, JEFFREY
 3             SCHNEIDER, THOMAS WELCH, HAYNES INVESTMENTS, MR. HAYNES)
 4            162.      Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth at

 5     length herein.

 6            163.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

 7     claim against Defendants,23 for themselves and on behalf of a class initially defined as:

 8            All consumers residing in California when they entered into a loan agreement with
              Plain Green or Great Plains where the loan was originated or any payment was made.
 9

10            164.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this
11     claim for themselves and on behalf of a subclass initially defined as:
12            All consumers residing in California when they entered into a loan agreement with
              Plain Green or Great Plains where the loan was originated and/or any payment was
13            made on or after February 22, 2014.
14            165.      Numerosity. Fed. R. Civ. P 23(a)(1). Numerosity will be easily satisfied in this case
15     based on the number of loans at issue in California. Additionally, the names and addresses of the
16     class members are identifiable through the internal business records maintained by Defendants
17     and/or Think Finance, and the class members may be notified of the pendency of this action by
18     published and/or mailed notice.
19            166.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).
20     Common questions of law and fact exist as to all members of the putative class, and there are no
21     factual or legal issues that differ between the putative class members. These common questions
22     predominate over the questions affecting only individual class members. The common questions
23     include: (1) whether Think Finance, Plain Green, Great Plains, the Chippewa Cree Tribe, the Otoe-
24     Missouria Tribe, GPLS, Haynes Investments, and Victory Park constitute an “enterprise” under
25

26     23
          For the purpose of simplicity, Plaintiffs use the term “Defendants” in this Count to refer to all
       Defendants except Rees, Plain Green, and Great Plains. Plaintiffs do not assert a § 1962(a) violation
27     as to Rees, Plain Green or Great Plains.
28

                                                         27
                                                CLASS ACTION COMPLAINT                                027
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 1
       RICO; (2) whether Defendants acquired and maintained an interest in the enterprise; and (3) what is
 2
       the proper recovery for Plaintiffs and the class members against each of the Defendants.
 3
              167.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 4
       each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of
 5
       action as the other members of the putative class. All are based on the same facts and legal theories.
 6
              168.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
 7
       representatives of the putative class because their interests coincide with, and are not antagonistic
 8
       to, the interests of the members of the class they seek to represent; they have retained counsel
 9
       competent and experienced in such litigation; and they have and intend to continue to prosecute the
10
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
11
       members of the class. Neither Plaintiffs nor their counsel have any interests which might cause
12
       them not to vigorously pursue this action.
13
              169.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class
14
       certification is appropriate because Defendants acted on grounds generally applicable to the class,
15
       making appropriate injunctive relief with respect to Plaintiffs and the class members. Plaintiffs and
16
       the putative class seek an injunction prohibiting Defendants from continued collection of these
17
       illegal loans; prohibiting Defendants from continuing to engage in any enterprise pled herein; and
18
       ordering the dissolution of each Defendant that has engaged in any enterprise pled herein.
19
              170.    As alleged above, Defendants § 1962(b) of RICO by acquiring and maintaining
20
       interests in and control of the enterprise involved in the unlawful collection of debt.
21
              171.    Defendants participated in the collection of the unlawful debt as a principal by
22
       aiding, abetting, procuring proceeds from the enterprise, and by willfully acquiring and maintaining
23
       interests in and control of the enterprise.
24
              172.    Plaintiffs and the class members were injured as a result of Defendants’ violations of
25
       18 U.S.C. § 1962(b) because the loans would not have been made but for Defendants’ investment
26
       and participation in the enterprise.
27

28

                                                        28
                                               CLASS ACTION COMPLAINT                               028
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 1
              173.      As a result of Defendants’ violations, Defendants are jointly and severally liable to
 2
       Plaintiffs and the putative class members for their actual damages, treble damages, costs, and
 3
       attorney’s fees pursuant to 18 U.S.C. § 1964(c).
 4
                                            COUNT THREE:
 5                                VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)
                                (CLASS CLAIM AGAINST ALL DEFENDANTS)
 6
              174.      Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth at
 7
       length herein.
 8
              175.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this
 9
       action for themselves and on behalf of a class initially defined as:
10
              All consumers residing in California when they entered into a loan agreement with
11            Plain Green or Great Plains where the loan was originated or any payment was made.
12            176.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

13     claim for themselves and on behalf of a subclass initially defined as:

14
              All consumers residing in California when they entered into a loan agreement with
15            Plain Green or Great Plains where the loan was originated and/or any payment was
              made on or after February 22, 2014.
16
              177.      Numerosity. Fed. R. Civ. P 23(a)(1). Numerosity will be easily satisfied in this case
17
       based on the number of loans at issue in California. Additionally, the names and addresses of the
18
       class members are identifiable through the internal business records maintained by Defendants
19
       and/or Think Finance, and the class members may be notified of the pendency of this action by
20
       published and/or mailed notice.
21
              178.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).
22
       Common questions of law and fact exist as to all members of the putative class, and there are no
23
       factual or legal issues that differ between the putative class members. These common questions
24
       predominate over the questions affecting only individual class members. The common questions
25
       include: (1) whether Think Finance, Plain Green, Great Plains, the Chippewa Cree Tribe, the Otoe-
26
       Missouria Tribe, Haynes Investments, and Victory Park constitute an “enterprise” under RICO; (2)
27
       whether Defendants conducted the affairs or participated in the enterprise’s affairs; (3) whether the
28

                                                         29
                                                CLASS ACTION COMPLAINT                                029
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 1
       loans violated Art. XV § 1 of California’s Constitution because their interest levels were too high;
 2
       and (4) what is the proper recovery for Plaintiffs and the class members against each Defendant.
 3
               179.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 4
       each putative class member. Plaintiffs are entitled to relief under the same causes of action as the
 5
       other members of the putative class. Additionally, Plaintiffs’ claims are based on the same facts and
 6
       legal theories as each of the class members.
 7
               180.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
 8
       representatives of the putative class because their interests coincide with, and are not antagonistic
 9
       to, the interests of the members of the class that they seek to represent. Plaintiffs have retained
10
       counsel competent and experienced in such litigation, and they intend to continue to prosecute the
11
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
12
       members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them
13
       to not vigorously pursue this action.
14
               181.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the
15
       class members predominate over questions affecting only individual members, and a class action is
16
       superior to other available methods for fair and efficient adjudication of the controversy. The
17
       damages sought by each member are such that individual prosecution would prove burdensome and
18
       expensive. It would be virtually impossible for members of the class individually to effectively
19
       redress the wrongs done to them. Even if the members of the class themselves could afford such
20
       individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized
21
       litigation presents a potential for inconsistent or contradictory judgments and increases the delay
22
       and expense to all parties and to the court system presented by the legal and factual issues raised by
23
       Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the
24
       litigants and the Court by allowing the Court to resolve numerous individual claims based upon a
25
       single set of proof in a case.
26
               182.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class
27
       certification is appropriate because Defendants have acted on grounds generally applicable to the
28

                                                       30
                                               CLASS ACTION COMPLAINT                              030
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 1
       class, making appropriate equitable, injunctive relief with respect to Plaintiffs and the class
 2
       members. Plaintiff and the putative class seek an injunction prohibiting Defendants from continued
 3
       collection of these illegal loans; prohibiting Defendants from continuing to engage in any enterprise
 4
       pled herein; and ordering the dissolution of each Defendant that has engaged in any enterprise pled
 5
       herein.
 6
                 183.   All of the loans made to California residents included an interest rate far in excess of
 7
       twice the enforceable rate in California.
 8
                 184.   As alleged above, Defendants associated with the enterprise and participated in the
 9
       affairs of the enterprise, which existed for the purpose of collection of unlawful debt.
10
                 185.   Defendants’ participation in the enterprise violated § 1962(c) of RICO and caused
11
       Plaintiffs to repay amounts on unlawful loans.
12
                 186.   Plaintiffs and the class members were injured as a result of Defendants’ violations of
13
       18 U.S.C. § 1962(c) and are entitled to treble their actual damages, which would include any
14
       interest, fees, or other sums collected by the enterprise.
15                                                 COUNT FOUR:
                                   VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
16                               (CLASS CLAIM AGAINST ALL DEFENDANTS)
17               187.   Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth at

18     length herein.

19               188.   Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

20     action for themselves and on behalf of a class initially defined as:

21               All consumers residing in California when they entered into a loan agreement with
                 Plain Green or Great Plains where the loan was originated or any payment was made.
22
              189. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this
23     claim for themselves and on behalf of a subclass initially defined as:
24               All consumers residing in California when they entered into a loan agreement with
                 Plain Green or Great Plains where the loan was originated or any payment was made
25               on or after February 22, 2014.
26               190.   Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs allege

27     that the class members are so numerous that joinder of all is impractical. The names and addresses

28     of the class members are identifiable through the internal business records maintained by

                                                         31
                                                CLASS ACTION COMPLAINT                                031
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 32 of 38
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21 Page 35 of 110 PageID 52


 1
       Defendants, and the class members may be notified of the pendency of this action by published
 2
       and/or mailed notice.
 3
                 191.   Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).
 4
       Common questions of law and fact exist as to all members of the putative class, and there are no
 5
       factual or legal issues that differ between the putative class members. These questions predominate
 6
       over the questions affecting only individual class members.
 7
                 192.   Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 8
       each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of
 9
       action as the other members of the putative class. All are based on the same facts and legal theories.
10
                 193.   Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
11
       representatives of the putative class because their interests coincide with, and are not antagonistic
12
       to, the interests of the members of the class they seek to represent; they have retained counsel
13
       competent and experienced in such litigation; and they have and intend to continue to prosecute the
14
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
15
       members of the class. Neither Plaintiffs nor their counsel have any interests which might cause
16
       them not to vigorously pursue this action.
17
                 194.   Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class
18
       certification is appropriate because Defendants acted on grounds generally applicable to the class,
19
       making appropriate equitable, injunctive relief with respect to Plaintiffs and the class members.
20
       Plaintiffs and the putative class seek an injunction prohibiting Defendants from continued collection
21
       of these illegal loans; prohibiting Defendants from continuing to engage in any enterprise pled
22
       herein; and ordering the dissolution of each Defendant that has engaged in any enterprise pled
23
       herein.
24
                 195.   As alleged above, Defendants violated § 1962(d) of RICO by entering into a series
25
       of agreements to violate §§ 1962(a)-(c), including but not limited to: (1) the Term Sheet between
26
       the Haynes Investments, Chippewa Cree Tribe, Think Finance, and Victory Park (through GPLS),
27

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                                                        32
                                               CLASS ACTION COMPLAINT                              032
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 33 of 38
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 1
       (2) a similar term sheet between Otoe-Missouria Tribe, Think Finance, and Victory Park (through
 2
       GPLS), and (3) the Participation, Administrative Agency, and Guaranty and Security Agreements.
 3
              196.      As a result of Defendants’ participation in the enterprise and violations of RICO,
 4
       Defendants are jointly and severally liable to Plaintiffs and the putative class members for their
 5
       actual damages, treble damages, costs, and attorney’s fees pursuant to 18 U.S.C. § 1964(c).
 6
                                             COUNT FIVE:
 7
                                VIOLATIONS OF CALIFORNIA USURY LAWS
 8                              (CLASS CLAIM AGAINST ALL DEFENDANTS)

 9            197.      Plaintiff restates each of the allegations in the preceding paragraphs as if set forth at

10     length herein.

11            198.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

12     action for themselves and on behalf of a class initially defined as follows:

13            California Usury Class: All California residents who made a payment on any loan
              with Plain Green or Great Plains on or before February 22, 2015.
14
              California Treble Damages Subclass: All California residents who made a payment
15            on any loan with Plain Green or Great Plains on or after February 22, 2016.

16            Plaintiffs are members of this class and subclass.

17            199.      Numerosity. Fed. R. Civ. P 23(a)(1). Based on the revenue collected from Virginia

18     consumers, numerosity is easily satisfied. Additionally, the names and addresses of the class

19     members are identifiable through the internal business records maintained by Defendants, and the

20     class members may be notified of the pendency of this action by published and/or mailed notice.

21            200.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

22     Common questions of law and fact exist as to all members of the putative class, and there are no

23     factual or legal issues that differ between the putative class members. These questions predominate

24     over the questions affecting only individual class members. The principal issues include: (1)

25     whether the loans made to California consumers violated Art. XV § 1 of California’s Constitution

26     because their interest levels were too high; (2) whether Plaintiffs may recover from Defendants the

27     amounts paid on the loans; and (3) what is the proper recovery for Plaintiffs and the class members

28     against each Defendant.

                                                         33
                                                CLASS ACTION COMPLAINT                                033
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 34 of 38
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 1
               201.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 2
       each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of
 3
       action as the other members of the putative class. All claims are based on the same facts and legal
 4
       theories.
 5
               202.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
 6
       representatives of the putative class because their interests coincide with, and are not antagonistic
 7
       to, the interests of the members of the class that they seek to represent. Plaintiffs have retained
 8
       counsel competent and experienced in such litigation, and they intend to continue to prosecute the
 9
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
10
       members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them
11
       to not vigorously pursue this action.
12
               203.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the
13
       class members predominate over questions affecting only individual members, and a class action is
14
       superior to other available methods for fair and efficient adjudication of the controversy. The
15
       damages sought by each member are such that individual prosecution would prove burdensome and
16
       expensive. It would be virtually impossible for members of the class individually to effectively
17
       redress the wrongs done to them. Even if the members of the class themselves could afford such
18
       individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized
19
       litigation presents a potential for inconsistent or contradictory judgments and increases the delay
20
       and expense to all parties and to the court system because of the legal and factual issues raised by
21
       Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the
22
       litigants and the Court by allowing the Court to resolve numerous individual claims based upon a
23
       single set of proof in a case.
24
               204.    All of the loans made to California consumers in the name of Plain Green and Great
25
       Plains used an interest rate greater than 12%.
26
               205.    As explained above, Defendants received the proceeds, directly and indirectly, of the
27
       loans originated in the names of Plain Green and Great Plains.
28

                                                        34
                                               CLASS ACTION COMPLAINT                              034
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 35 of 38
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 1
              206.      Accordingly, Plaintiffs and the class members are entitled to recover all interest paid
 2
       on the loans in excess of 10% within the past two years, plus treble damages for any interest paid
 3
       within the year preceding the filing of this action and their attorney’s fees and costs. Cal. Civ. Code
 4
       § 1916-3.
 5
                                              COUNT SIX:
 6                                        UNJUST ENRICHMENT
                                 (CLASS CLAIM AGAINST ALL DEFENDANTS)
 7
              207.      Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth at
 8
       length herein.
 9
              208.      Pursuant to Rule 23 of the Federal Rules of Civil Procedures, Plaintiffs bring this
10
       claim for themselves and on behalf of a class—the “California Unjust Enrichment Class”—initially
11
       defined as follows:
12
              California Unjust Enrichment Class: All California residents who executed a loan
13            with Plain Green or Great Plains where the consumer repaid more than the original
              principal of the loan.
14
              Plaintiffs are members of the unjust enrichment class.
15

16            209.      Numerosity. Fed. R. Civ. P 23(a)(1). Based on the revenue collected from Virginia

17     consumers, numerosity is easily satisfied. Additionally, the names and addresses of the class

18     members are identifiable through the internal business records maintained by Defendants, and the

19     class members may be notified of the pendency of this action by published and/or mailed notice.

20            210.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

21     Common questions of law and fact exist as to all members of the putative class, and there are no

22     factual or legal issues that differ between the putative class members. These questions predominate

23     over the questions affecting only individual class members. The principal issues include: (1)

24     whether Plaintiffs and the class members conferred a benefit on Defendants; (2) whether

25     Defendants knew or should have known of the benefit; (3) whether Defendants retained an unjust

26     benefit because the loan was void; and (4) what is the proper recovery for Plaintiffs and the class

27     members against each of Defendants.

28

                                                         35
                                                CLASS ACTION COMPLAINT                                035
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 36 of 38
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21 Page 39 of 110 PageID 56


 1
               211.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of
 2
       each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of
 3
       action as the other members of the putative class. All claims are based on the same facts and legal
 4
       theories.
 5
               212.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate
 6
       representatives of the putative class because their interests coincide with, and are not antagonistic
 7
       to, the interests of the members of the class that they seek to represent. Plaintiffs have retained
 8
       counsel competent and experienced in such litigation, and they intend to continue to prosecute the
 9
       action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the
10
       members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them
11
       to not vigorously pursue this action.
12
               213.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the
13
       class members predominate over questions affecting only individual members, and a class action is
14
       superior to other available methods for fair and efficient adjudication of the controversy. The
15
       damages sought by each member are such that individual prosecution would prove burdensome and
16
       expensive. It would be virtually impossible for members of the class individually to effectively
17
       redress the wrongs done to them. Even if the members of the class themselves could afford such
18
       individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized
19
       litigation presents a potential for inconsistent or contradictory judgments and increases the delay
20
       and expense to all parties and to the court system because of the legal and factual issues raised by
21
       Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the
22
       litigants and the Court by allowing the Court to resolve numerous individual claims based upon a
23
       single set of proof in a case.
24
               214.    All of the loans to California consumers in the name of Plain Green and Great Plains
25
       were void.
26

27

28

                                                       36
                                               CLASS ACTION COMPLAINT                              036
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 37 of 38
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21 Page 40 of 110 PageID 57


 1
              215.    Plaintiffs and the class members conferred a benefit on Defendants when they repaid
 2
       the void loans; Defendants knew or should have known of the benefits; and Defendants have been
 3
       unjustly enriched through their receipt of any amounts in connection with the unlawful loans.
 4
              216.    Accordingly, on behalf of themselves and all other California consumers similarly
 5
       situated, Plaintiffs seek to recover from Defendants, jointly and severally, all amounts repaid on any
 6
       loans with Plain Green and Great Plains.
 7
                                             PRAYER FOR RELIEF
 8
              WHEREFORE, Plaintiffs request the Court enter judgment for themselves and the class
 9
       they seek to represent against Defendants, including for:
10
              A.      Certification of this matter to proceed as a class action;
11
              B.      Declaratory and injunctive relief as pled herein;
12
              C.      Compensatory relief in an amount as pled herein;
13
              D.      Treble damages pursuant to 18 U.S.C. § 1964(c) and Cal. Civ. Code § 1916-3;
14
              E.      Attorney’s fees, litigation expenses, and costs of suit; and
15
              F.      Any further relief the Court deems proper.
16
              TRIAL BY JURY IS DEMANDED.
17

18
                                                     Respectfully submitted,
19                                                   PLAINTIFFS
20                                                   By:     /s/ Craig C. Marchiando
                                                     Craig C. Marchiando, Esq., (SBN 283829)
21                                                   Leonard A. Bennett, Esq., (pro hac vice to be filed)
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                                                        37
                                              CLASS ACTION COMPLAINT                              037
              Case 3:18-cv-01200 Document 1 Filed 02/23/18 Page 38 of 38
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21 Page 41 of 110 PageID 58


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 7                                        Email: ahaac@tzlegal.com
 8                                        Email: asilver@tzlegal.com

 9                                        Counsel for Plaintiffs

10

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                                    CLASS ACTION COMPLAINT                              038
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                       Page 42 of 110 PageID 59



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 5     Attorneys for Plaintiffs
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 7                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
 8

 9      KIMETRA BRICE, EARL BROWNE,                                Case No.: 3:18-cv-01200-WHO
        and JILL NOVOROT,
10                                                                  NOTICE OF DEPOSITION OF L.
11           Plaintiffs,                                            STEPHEN HAYNES
        v.
12

13      KENNETH REES; GPL SERVICING, LTD.,
        PLAIN GREEN, LLC; GREAT PLAINS
14      LENDING, LLC; VICTORY PARK CAPITAL
        ADVISORS, LLC; VICTORY PARK
15
        MANAGEMENT, LLC; SCOTT ZEMNICK;
16      JEFFREY SCHNEIDER; THOMAS WELCH;
        HANES INVESTMENTS, LLC; and L.
17      STEPHEN HAYNES,

18           Defendants.
19

20              PLEASE TAKE NOTICE on February 12, 2021 at 10:00 a.m. (CST), or as soon thereafter as

21     feasible, before an officer duly qualified to administer oaths and take depositions, Plaintiffs shall proceed

22     to take the Fed. R. Civ. P. 30(b)(1) deposition of L. Stephen Haynes. Pursuant to Fed. R. Civ. P 30(b)(3)

23     and (b)(4) the deposition may be taken by telephone, video conference or other remote means. The

24     witness will be placed under oath by an officer that will attend the deposition by the same remote means.

25     Testimony may be recorded by audio, audiovisual, or stenographic means.

26

27

28
                                                                 1
                                                     NOTICE OF DEPOSITION
                                                                                     2                 039
                                              (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21             Page 43 of 110 PageID 60



 1     Dated: February 2, 2021          Respectfully submitted,
 2
                                        By: /s/ Anna C. Haac
 3                                      Anna C. Haac (pro hac vice)
                                        Mark A. Clifford (pro hac vice)
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                                        Attorneys for Plaintiffs
25

26

27

28
                                                    2
                                        NOTICE OF DEPOSITION                            040
                                 (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                 Page 44 of 110 PageID 61



 1                                       CERTIFICATE OF SERVICE
 2            The undersigned, Nicole Porzenheim, hereby certifies that on February 2, 2021, she caused a copy
 3
       of the NOTICE OF DEPOSITION OF L. STEPHEN HAYNES to be served via electronic mail,
 4
       upon the following counsel of record:
 5
                                               Anna S. McLean
 6                                             Jacqueline Melissa Simonovich
                                               Sheppard Mullin Richter & Hampton LLP
 7
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 8                                             Seventeenth Floor
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                                               Fax: (415) 434-3947
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                                               Email: jsimonovich@sheppardmullin.com
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13                                             Richard L. Scheff
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19

20

21                                                          /s/Nicole Porzenheim
                                                            Nicole Porzenheim
22

23

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                                                           3
                                               NOTICE OF DEPOSITION                               041
                                        (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                      Page 45 of 110 PageID 62



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 5     Attorneys for Plaintiffs
       Additional Counsel on Signature Page
 6

 7                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
 8

 9      KIMETRA BRICE, EARL BROWNE,                                Case No.: 3:18-cv-01200-WHO
        and JILL NOVOROT,
10                                                                 AMENDED NOTICE OF 30(b)(6)
11           Plaintiffs,                                           DEPOSITION OF HAYNES
        v.                                                         INVESTMENTS, LLC
12

13      KENNETH REES; GPL SERVICING, LTD.,
        PLAIN GREEN, LLC; GREAT PLAINS
14      LENDING, LLC; VICTORY PARK CAPITAL
        ADVISORS, LLC; VICTORY PARK
15
        MANAGEMENT, LLC; SCOTT ZEMNICK;
16      JEFFREY SCHNEIDER; THOMAS WELCH;
        HANES INVESTMENTS, LLC; and L.
17      STEPHEN HAYNES,

18           Defendants.
19

20              PLEASE TAKE NOTICE on February 12, 2021 at 10:00 a.m. (CST), or as soon thereafter as

21     feasible, before an officer duly qualified to administer oaths and take depositions, Plaintiffs shall proceed

22     to take the Fed. R. Civ. P. 30(b)(6) deposition of Defendant Haynes Investments, LLP. Pursuant to Fed.

23     R. Civ. P 30(b)(6), one or more officers, directors, managing agents, or other persons shall be designated

24     to testify on Defendant’s behalf on each topic listed in Attachment A. The person or persons so designated

25     shall testify as to all information known or reasonably available to the Defendant on each topic listed

26     below. At least one person or other persons designated to testify as to each topic should have knowledge

27

28
                                                                 1
                                              AMENDED NOTICE OF DEPOSITION
                                                                                     3                 042
                                              (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                  Page 46 of 110 PageID 63



 1     of the documents referring or relating to the topic and the identity of the persons with knowledge of the
 2     topic.
 3
                Pursuant to Fed. R. Civ. P 30(b)(3) and (b)(4) the deposition may be taken by telephone, video
 4
       conference or other remote means. The witness will be placed under oath by an officer that will attend
 5
       the deposition by the same remote means. Testimony may be recorded by audio, audiovisual, or
 6
       stenographic means.
 7
       Dated: February 2, 2021                  Respectfully submitted,
 8

 9                                              By: /s/ Anna C. Haac
                                                Anna C. Haac (pro hac vice)
10                                              Mark A. Clifford (pro hac vice)
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                                                Craig C. Marchiando, Esq., (SBN 283829)
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26                                              Kristi C. Kelly, Esq. (pro hac vice)
                                                Andrew Guzzo, Esq. (pro hac vice)
27                                              KELLY GUZZO, PLC
28
                                                            2
                                         AMENDED NOTICE OF DEPOSITION                               043
                                         (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21             Page 47 of 110 PageID 64


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 4
                                        Attorneys for Plaintiffs
 5

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                                 AMENDED NOTICE OF DEPOSITION                           044
                                 (Civil Action No. 3:18-cv-01200-WHO)
     Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                Page 48 of 110 PageID 65



 1                                       CERTIFICATE OF SERVICE
 2            The undersigned, Nicole Porzenheim, hereby certifies that on February 2, 2021, she caused a copy
 3
       of the foregoing AMENDED NOTICE OF 30(b)(6) DEPOSITION OF HAYNES
 4
       INVESTMENTS, LLP to be served via electronic mail, upon the following counsel of record:
 5
                                             Anna S. McLean
 6                                           Jacqueline Melissa Simonovich
                                             Sheppard Mullin Richter & Hampton LLP
 7
                                             Four Embarcadero Center
 8                                           Seventeenth Floor
                                             San Francisco, CA 94111-4109
 9                                           (415) 434-9100
                                             Fax: (415) 434-3947
10                                           Email: AMcLean@sheppardmullin.com
                                             Email: jsimonovich@sheppardmullin.com
11

12                                           David Foster Herman
                                             Jonathan P. Boughrum
13                                           Richard L. Scheff
                                             Michael Christopher Witsch
14                                           Armstrong, Teasdale, LLP
                                             2005 Market Street, 29th floor
15                                           One Commerce Square
                                             Philadelphia, PA 19103
16
                                             267-780-2015
17                                           Email: dherman@armstrongteasdale.com
                                             Email: jboughrum@armstrongteasdale.com
18                                           Email: rscheff@armstrongteasdale.com
                                             Email: mwitsch@armstrongteasdale.com
19

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21                                                          /s/Nicole Porzenheim
                                                            Nicole Porzenheim
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                                        AMENDED NOTICE OF DEPOSITION                              045
                                        (Civil Action No. 3:18-cv-01200-WHO)
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                                        ATTACHMENT A

       This subpoena requires you to appear for a deposition. This Attachment A provides certain

definitions and sets forth the matters on which you will be examined. You should review this

Attachment A carefully.

                                          DEFINITIONS

       Notwithstanding any definition set forth below, each word, term, or phrase used in these

Requests is intended to have the broadest meaning permitted under the Federal and Local Rules of

Civil Procedure. As used in these Requests, the following terms are to be interpreted in accordance

with the definitions set forth below.

       1.      “Defendant” or “Defendants” shall mean the named defendants in this Action,

and/or any and all other person(s) acting on the named defendants’ behalf or at their direction or

control, including, but not limited to, present or former employees, staff personnel, agents, servants,

consultants, investigators, contractors or subcontractors, advisors, counsel, accountants,

representatives, or any other person compensated by that defendants, regardless of whether such

compensation is based in whole or in part on commission or some other measure of performance or

otherwise and regardless of whether considered or classified as independent contractors.

       2.      “Plaintiffs” shall mean Kimetra Brice, Earl Browne, and Jill Novorot.

       3.      “You” or “Your” shall mean Haynes Investments, LLC (“Haynes Investments”)

and/or any and all other person(s) acting on Haynes Investments’ behalf or at Haynes Investments’

direction or control, including, but not limited to, present or former employees, staff personnel,

agents, servants, consultants, investigators, contractors or subcontractors, advisors, counsel,

accountants, representatives, or any other person compensated by Haynes Investments, regardless of

whether such compensation is based in whole or in part on commission or some other measure of

performance or otherwise and regardless of whether considered or classified as independent

contractors.

       4.      “Document” and “Documents” should be interpreted in their broadest possible sense

within the meaning of Rule 34(a) of the Federal Rules of Civil Procedure and shall mean the complete



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original (or complete copy where the original is unavailable) and each non-identical copy (where

different from the original because of notes made on the copy or otherwise) of any writing or record,

as well as any attachment thereto or enclosure therewith, including but not limited to all written,

typewritten, handwritten, printed, computerized, electronically created or stored, or graphic matter of

any kind or nature, however produced or reproduced; any form of collected data for use with

electronic data processing equipment; any physical object or thing, and any mechanical or electronic

visual or sound recordings now or formerly in Your possession, custody or control or known to You

regardless of physical location. The term “document” includes, but is not limited to, e-mails,

facsimiles, envelopes, voice-mail messages, transcripts, invoices, purchase orders, checks, receipts,

letters and other correspondence, offers, contracts, agreements, bids, proposals, licenses, permits,

reports to government agencies, ledgers, accounts receivable, accounts payable, account statements,

financial statements, reports of any kind, minutes of meetings, sales estimates, sales reports,

memoranda, notes, spreadsheets, calendar or diary entries, agendas, bulletins, graphs, charts, maps,

photographs, drawings, surveys, data, price lists, summaries, telegrams, teletypes, computer printouts,

magnetic tapes, discs, drives, electronic or hard-copy files, audio or video tapes, microfilm, and

microfiche.

        5.      “Communication(s)” means the transmission, sending, or receipt of information of

any kind (in the form of facts, ideas, inquiries, or otherwise), by one or more persons and/or between

two or more persons by or through any means including, but not limited to, speech, writings, language

(machine, foreign, or otherwise), computer electronics of any kind (including, but not limited to, e-

mail, instant messaging, or other computer linkups), magnetic tape, videotape, photographs, graphs,

symbols, signs, magnetic or optical disks, floppy disks, compact discs, CD-ROM discs, other

removable or transportable media, sound, radio, or video signals, telecommunication, telephone,

teletype, telexes, telecopies, facsimile, telegram, microfilm, microfiche, photographic film of all type,

or other media of any kind.

        6.      “Relate to,” “refer to,” “with respect to,” “reflect,” “regarding,” “pertaining to” or

“concerning” means mentioning, discussing, reflecting, containing, consisting of, evidencing,



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embodying, stating, dealing with, making reference or relating to in any way, or having any logical or

factual connection with the subject matter identified in a discovery request.

        7.         “Think Finance” means Think Finance, Inc. and any of its subsidiaries, affiliates,

predecessors or successors.

        8.         “Elevate” means Elevate Credit, Inc.

        9.         The words “and” and “or” shall be construed conjunctively or disjunctively as

necessary to make the scope of this Request inclusive rather than exclusive.

        10.        The use of the singular form of any word shall include the plural and vice-versa.

        11.        The present tense includes the past and future tenses. Words in the masculine,

feminine or neuter form shall include each of the other genders.
                     MATTERS ON WHICH EXAMINATION REQUESTED

        1.         Haynes Investments’ involvement in any aspect of the tribal lending enterprise alleged

in Plaintiffs’ operative Complaint, including but not limited to those activities described in Defendant

L. Steven Haynes’ Revised Responses and Objections to Plaintiff Kimetra Brice’s First Set of

Interrogatories, incorporated by reference in Defendant Haynes Investments, LLC’s Revised

Responses and Objections to Plaintiff Kimetra Brice’s First Set of Interrogatories.

        2.         Efforts to find tribal partners for Think Finance, whether or not those relationships

ever materialized, including without limitation efforts relating to partnering with the Chippewa Cree

Tribe, the tribe referenced in Haynes0001750-1751, and the Fallon Paiute-Shoshone Tribe, as reflected

in Haynes0000786, Haynes0001022-1026, Haynes0002594-2603, Haynes0002604-2633.

        3.         The circumstances surrounding the creation of Plain Green, and Haynes Investments’

involvement in the same, including but not limited to the involvement described in response to

Interrogatory No. 2 in Defendant L. Steven Haynes’ Revised Responses and Objections to Plaintiff

Kimetra Brice’s First Set of Interrogatories, incorporated by reference in Defendant Haynes

Investments, LLC’s Revised Responses and Objections to Plaintiff Kimetra Brice’s First Set of

Interrogatories.




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        4.      The flow of funds relating to the loans originated by the tribal lending enterprise

alleged in Plaintiffs’ operative Complaint, including Haynes Investments’ financing of any such loans,

as set forth in, inter alia, Haynes0002570-2571 and reflected in Haynes0000059-60, TF-VA0527822,

and TF-VA0549945.

        5.      Any agreements, as well as changes thereto over time and/or terminations of the same,

that Haynes Investments entered into regarding the tribal lending enterprise alleged in Plaintiffs’

operative Complaint, including (a) credit facility agreements, such as those at Haynes0003179-3190,

Haynes0000384-395, Haynes0000267-268, and Haynes0002658-2661; (b) referral agreements, such as

at Haynes0001159-1167; (c) promissory notes, such as those at Haynes0001222-1253 and

Haynes0001255-1260; and (d) the agreement reflected at Haynes0001873-1875.

        6.      ACH processing issues experienced by the tribal lending enterprise alleged in Plaintiffs’

operative Complaint, such as without limitation those reflected in TF-VA0537502, TF-VA0171268-

0171270, and TF-VA0168990, as well as Haynes Investments’ efforts to find banks, credit and debit

card processors, and/or ACH processors to process the loans—and payments related thereto—issued

by the tribal lending enterprise alleged in Plaintiffs’ operative complaint, including without limitation

those efforts reflected in the afore-mentioned documents, as well as TF-VA0171211-0171212, TF-

VA0537426-0537427, TF-VA0525837-0525838, TF-VA0169608-0169612, TF-VA041396, TF-

VA0169273.

        7.      Requirements pertaining to bank account access, draws on bank account funds, liens

on bank accounts and/or liens on loan monies held by Think Finance’s tribal partners, such as those

discussed at Haynes0002658.

        8.      Efforts to establish a tribal lending association, as discussed in Haynes0002193-2194,

Haynes0002195-2209, and Haynes0002214, including Haynes Investments’ involvement in the same,

such as without limitation as reflected in Haynes0002230-2231.

        9.      The amount, date, source, and further distribution of income, fees, and/or revenue (as

well as the reason for the same) received by Haynes Investments connected in any way with the lending

enterprise alleged in Plaintiffs’ operative Complaint, including without limitation “Haynes investments



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revenue share” referred to in Haynes0002232 and payment(s) made to Haynes Investments pursuant

to the Referral Agreement described in response to Interrogatory No. 4 in Defendant L. Steven

Haynes’ Revised Responses and Objections to Plaintiff Kimetra Brice’s First Set of Interrogatories,

incorporated by reference in Defendant Haynes Investments, LLC’s Revised Responses and

Objections to Plaintiff Kimetra Brice’s First Set of Interrogatories.

        10.     The amount, date, source, use, and further distribution of any loans or advances

received by Haynes Investments connected in any way with the lending enterprise alleged in Plaintiffs’

operative Complaint, such as are reflected in Haynes0000396-397, Haynes0001299-1300,

Haynes0001301-1302, Haynes0001312-1313, Haynes0001310-1311.

        11.     Investment of funds on behalf of Think Finance by Haynes Investments, as discussed

at Haynes0002671-2674.

        12.     Transactions reflected in Haynes0003232-3245.

        13.     Invoices, payables, and receivables reflected in Haynes0003246-3313 and

Haynes0003327-43.

        14.     The operational, financial, and legal relationships (including but not limited to any

compensation arrangement and any contracts between these entities) between Haynes Investments

and each of the following entities: Great Plains, the Otoe-Missouria Tribe, Plain Green, the Chippewa

Cree Tribe, Think Finance, TC Administrative Service, Tailwind Marketing, TC Decision Sciences,

GPL Servicing Agent, LLC, GPL Servicing Trust I, GPL Servicing Trust II, and/or GPL Servicing

Ltd., including but not limited to those described in response to Interrogatory Nos. 11 and 17 in

Defendant L. Steven Haynes’ Revised Responses and Objections to Plaintiff Kimetra Brice’s First Set

of Interrogatories, incorporated by reference in Defendant Haynes Investments, LLC’s Revised

Responses and Objections to Plaintiff Kimetra Brice’s First Set of Interrogatories.

        15.     The operational, financial, and legal relationships (including but not limited to any

compensation arrangement and any contracts between these entities) between Haynes Investments

and Sovereign Business Solutions.




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        16.      Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investments to have knowledge of, the operational, financial, and legal relationships (including

but not limited to any compensation arrangement and any contracts between these entities) between

Sovereign Business Solutions and Plain Green.

        17.      The operational, financial, and legal relationships (including but not limited to any

compensation arrangement and any contracts between these entities) between Haynes Investments

and each of the following entities: Victory Park Capital Advisors, Victory Park Credit Opportunities

Maser Fund, Ltd., Victory Park Management, LLC, and/or VPC/TF Trust I.

        18.      Haynes Investments’ responses to Plaintiffs’ discovery requests and its Answer to

Plaintiffs’ operative Complaint, including but not limited to:

              a. efforts to identify documents responsive to Plaintiffs’ Requests for Production;

              b. any ESI search terms used by Haynes Investments to gather documents;

              c. the custodians and other persons from whom documents were obtained and whose

                 possession was searched or queried;

              d. efforts to provide full and complete responses to Plaintiffs’ Interrogatories;

              e. names of individuals who were contacted for the purpose of responding to Plaintiffs’

                 Interrogatories or providing Haynes Investments’ Answer to Plaintiffs’ operative

                 Complaint, and the information provided by each individual;

              f. the basis for the contentions provided in response to Plaintiffs’ Requests for

                 Production and Interrogatories, and in Haynes Investments’ Answer to Plaintiffs’

                 operative Complaint.

        19.      All interactions that Haynes Investments or its representatives have had with any

government body, including the Federal Trade Commission, the Consumer Financial Protection

Bureau, any state Attorney General’s office or any similar state agency regarding Plain Green, Great

Plains, Think Finance, or any aspect of the lending enterprise alleged in Plaintiffs’ operative

Complaint.




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        20.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investments to have knowledge of, usury law and Think Finance’s compliance with applicable

usury laws.

        21.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investment to have knowledge of, regulatory or other government enforcement actions

targeting Think Finance or others involved in the payday lending industry.

        22.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investments to have knowledge of, regulatory of other government enforcement actions

targeting Great Plains, Plain Green, Think Finance, or other entities offering tribal lending products.

        23.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investments to have knowledge of, Think Finance’s tribal lending business model.

        24.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investment to have knowledge of, the regulatory risks associated with Think Finance’s rent-

tribal lending business model.

        25.     Haynes Investments’ knowledge of, and the identity of any individuals known to

Haynes Investment to have knowledge of, the involvement of Linda Stinson, Mike Stinson, Stephen

Shaper, 7HBF No. 2, Ltd., John D. Harvison, John H. Harvison, and/or Startup Capital Ventures,

L.P. in any aspect of the lending enterprise alleged in Plaintiffs’ operative Complaint.




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         Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                  Page 56 of 110    PageID 73 DISTRICT CLERK
                                                                                                       DALLAS CO., TEXAS
                                                                                                    Stephanie Clark DEPUTY


                                            CAUSE NO. DC-19-13904

         THINK FINANCE, L.L.C.              §                        IN THE DISTRICT COURT OF
              Plaintiff                     §
                                            §
         v.                                 §
                                            §
         L. STEVEN HAYNES d/b/a             §
         Haynes Investment, Inc., and       §
         HAYNES INVESTMENTS, L.L.C.         §
         H&R WHOLESALE, L.L.C., f/k/a       §
         RJK Vending Funding, L.L.C.        §
         REDLICH INVESTMENTS, L.L.C.,       §
         SRILLS, L.L.C.,                    §
         JEREMY ROUNSVILLE,                 §
         SAFEDECIDE, L.L.C.                 §                        DALLAS COUNTY, TEXAS
         SRILLS TECHNOLOGY, L.L.C.,         §
         TANGENT GAMING TX, L.L.C., f/k/a   §
         YNS SERVICES, L.L.C.,              §
         YNS GENERAL CONTRACTORS, L.L.C., §
         YNS INVESTMENTS, L.P.              §
         YVONNE HOPEN, a/k/a Yvonne Hoppen, §
         SAAH MANAGEMENT SERVICES, L.L.C. §
         N73CL, L.L.C.,                     §
         2 H LENDING MANAGEMENT             §
            SERVICES, L.L.C.,               §
         JOHN DAUGOMAH,                     §
         CSB ENTERPRISES, L.L.C.,           §
               Defendants                   §                        160th JUDICIAL DISTRICT


                                PLAINTIFF’S SECOND AMENDED PETITION



                  Plaintiff Think Finance, L.L.C. (“Think Finance”) files this Plaintiff’s Second Amended

         Petition.
                                                   I.
                                         DISCOVERY LEVEL (Level 2)

                  1.     Discovery is intended by Think Finance to be conducted pursuant to Rule 190.3

         of the Texas Rules of Civil Procedure in accordance with the scheduling order entered by the

         Court.


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                                             II.
                                           PARTIES

         2.    Think Finance is a Delaware limited liability company, duly authorized to transact

business in the State of Texas, with its principal place of business located in Dallas County,

Texas.

         3.    Defendant L. Steven Haynes (“Haynes”), is a natural person who resides in Dallas

County, Texas. Haynes has already been served with citation and has made a general appearance

in this matter. As described below, Haynes has transacted business in Texas with Think Finance

using the name “Haynes Investment Inc.” Long before any of the transactions with Think

Finance, there was a Texas corporation named Haynes Investments, Inc. which was formed on

January 31, 1989, but which dissolved on December 16, 1992. All of the transactions which

form the basis of this lawsuit occurred long after the date of dissolution. As described below, L.

Steven Haynes is the manager and a member of Srills, L.L.C., a Minnesota limited liability

company which has been inactive and was administratively terminated on March 16, 2018.

         4.    Haynes Investments, L.L.C. is a Texas limited liability company with its principal

place of business located in Dallas County, Texas. Haynes Investments, L.L.C, has already been

served with citation and has made a general appearance in this matter.

         5.    Defendant H&R Wholesale, L.L.C., (“H&R”), formerly known as RJK Vending

Funding, L.L.C., is a Delaware limited liability company with its principal place of business in

Dallas County, Texas. H&R may be served with citation and a copy of this petition by serving

Henry Joseph Redlich III, its manager, at the following address:

               H&R Wholesale, L.L.C.
               c/o Henry Joseph Redlich III, manager
               4342 Margate
               Dallas, Texas 75220



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       6.      Defendant Redlich Investments, L.L.C., (“Redlich”), is a Texas limited liability

company with its principal place of business in Dallas County, Texas. Redlich may be served

with citation and a copy of this petition by serving Henry J. Redlich, its registered agent for

service of process, at the following address:

               Redlich Investments, L.L.C.
               c/o Henry J. Redlich, registered agent
               4342 Margate
               Dallas, Texas 75220

       7.      Defendant Srills, L.L.C. (“Srills”) is a Minnesota limited liability company which

has been inactive and was administratively terminated on March 16, 2018. Srills may be served

with citation and a copy of this petition by serving L. Steven Haynes, its manager, at his usual

place of residence located at:

               Srills, L.L.C.
               c/o L. Steven Haynes, manager
               4215 San Carlos St.
               Dallas, Texas 75205

       8.      Defendant Jeremy Rounsville (“Rounsville”) is a natural person whose home

address is unknown to Think Finance but who was a member and the CEO of Srills when it was

administratively terminated on March 16, 2018. Rounsville may be served with citation and a

copy of this petition by serving him wherever he may be located.

       9.      Defendant SafeDecide, L.L.C. (“SafeDecide”) is a Texas limited liability

company with its principal place of business in Dallas County, Texas. SafeDecide may be

served with citation and a copy of this petition by serving L. Steven Haynes, its registered agent

for service of process, at the following address:

               SafeDecide, L.L.C.
               c/o L. Steven Haynes, registered agent
               4215 San Carlos St.
               Dallas, Texas 75205


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       10.     Defendant Srills Technology, L.L.C. (“Srills Technology”) is a Delaware limited

liability company with its principal place of business in Dallas County, Texas. Srills Technology

may be served with citation and a copy of this petition by serving Registered Office Service

Company, its registered agent for service of process, by certified mail at the following address:

               Srills Technology, L.L.C.
               c/o Registered Office Service Company, registered agent
               614 N. Dupont Hwy., Suite 210
               Dover, DE 19901

       11.     Defendant Tangent Gaming TX, L.L.C. (“Tangent”) is a Delaware limited

liability company with its principal place of business in Dallas County, Texas. Tangent may be

served with citation and a copy of this petition by serving A Registered Agent, Inc., its registered

agent for service of process, by certified mail at the following address:

               Tangent Gaming TX, L.L.C.
               c/o A Registered Agent, Inc., registered agent
               8 The Green, Ste A
               Dover DE 19901

       12.     Defendant YNS Services, L.L.C. (“YNS”) is a Delaware limited liability

company with its principal place of business located in Dallas County, Texas. YNS may be

served with citation and a copy of this petition by serving L. Steven Haynes, its registered agent

for service of process, at the following address:

               YNS Services, L.L.C.
               c/o L. Steven Haynes, registered agent
               7515 Lemmon Avenue, Hangar R
               Dallas, Texas 75209

       13.     Defendant YNS General Contractors, L.L.C., d/b/a YNS GC (“YNS-GC”) is a

Texas limited liability company with its principal place of business located in Dallas County,

Texas. YNS-GC may be served with citation and a copy of this petition by serving L. Steven

Haynes, its registered agent for service of process, at the following address:


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               YNS General Contractors, L.L.C.
               c/o L. Steven Haynes, registered agent
               7515 Lemmon Avenue, Hangar R
               Dallas, Texas 75209

       14.     Defendant YNS Investments, L.P. (“YNS-LP”) is a Texas limited partnership

with its principal place of business located in Dallas County, Texas. YNS-LP may be served

with citation and a copy of this petition by serving L. Steven Haynes, its registered agent for

service of process, at the following address:

               YNS Investments, L.P.
               c/o L. Steven Haynes, registered agent
               7515 Lemmon Avenue, Hangar R
               Dallas, Texas 75209

       15.     Yvonne Hopen, a/k/a Yvonne Hoppen, (“Yvonne”) is a natural person who

resides in Dallas County, Texas. Yvonne may be served with citation and a copy of this petition

at her usual place of residence located at:

               Yvonne Hopen, a/k/a Yvonne Hoppen
               4215 San Carlos St.
               Dallas, Texas 75205

       16.     Defendant SAAH Management Services, L.L.C. (“SAAH”) is a Florida limited

liability company with its principal place of business in Winter Park, Florida. SAAH may be

served with citation and a copy of this petition by serving CS Sunbiz, L.L.C., its registered agent

for service of process, by certified mail at the following address:

               SAAH Management Services, L.L.C.
               c/o CS Sunbiz, L.L.C., registered agent
               700 W. Morse Blvd., Suite 220
               Winter Park, Florida 32789

       17.     Defendant N73CL, L.L.C. (“N73CL”) is a Texas limited liability company with

its principal place of business located in Dallas County, Texas. N73CL may be served with




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citation and a copy of this petition by serving L. Steven Haynes, its registered agent for service

of process, at the following address:

               N73CL, L.L.C.
               c/o L. Steven Haynes, registered agent
               7515 Lemmon Avenue, Hangar R
               Dallas, Texas 75209

       18.     Defendant 2H Lending Management Services, L.L.C. (“2H Lending”) is a

Delaware limited liability company with its principal place of business in Wilmington, Delaware.

2H Lending may be served with citation and a copy of this petition by serving The Corporation

Trust Company, its registered agent for service of process, by certified mail at the following

address:

               2H Lending Management Services, L.L.C.
               c/o The Corporation Trust Company, registered agent
               Corporation Trust Center, 1209 Orange St.
               Wilmington, DE 19801

       19.     Defendant John Daugomah (“Daugomah”) is a natural person who resides in

McKinley County, New Mexico. Daugomah may be served with citation and a copy of this

petition at his usual place of residence located at:

               John Daugomah
               P.O. Box 934
               Crownpoint, New Mexico 87313-0934

       20.     Defendant CSB Enterprises, L.L.C. (“CSB”) is a limited liability company formed

in the Navajo Nation with its principal place of business in Crownpoint, New Mexico. CSB may

be served with citation and a copy of this petition by serving John Daugomah, its manager, by

certified mail at the following address:

               CSB Enterprises, L.L.C.
               c/o John Daugomah
               P.O. Box 934
               Crownpoint, New Mexico 87313-0934


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                                        III.
                            SUBJECT MATTER JURISDICTION

       21.     Pursuant to Section 24.007(b) of the Texas Government Code, jurisdiction is

proper in this Court because the matter in controversy is more than $500, exclusive of interest.

                                               IV.
                                             VENUE

       22.     Pursuant to Sections 15.002(a)(1) of the Texas Civil Practice and Remedies Code,

venue is proper in Dallas County because all or a substantial part of the events or omissions

giving rise to the claim occurred in Dallas County, Texas. Pursuant to Sections 15.002(a)(2) of

the Texas Civil Practice and Remedies Code, venue is proper in Dallas County because

Defendant Haynes is a natural person who resided in Dallas County, Texas, at the time the cause

of action accrued. Pursuant to Sections 15.002(a)(3) of the Texas Civil Practice and Remedies

Code, venue is proper in Dallas County because Defendant Haynes Investments, L.L.C. is not a

natural person and its principal office in this state is located in Dallas County, Texas. Pursuant to

Sections 15.092 of the Texas Civil Practice and Remedies Code, venue is proper in Dallas

County because this is a suit on a written contract that promises performance at a particular place

in Dallas County.

                                            V.
                                     CLAIM FOR RELIEF

       23.     Pursuant to Rule 47 of the Texas Rules of Civil Procedure, in this case Think

Finance seeks monetary relief over $1,000,000.

                                         VI.
                                  SUMMARY OF THE CASE

       24.     This is fundamentally a suit on a promissory note. Think Finance advanced funds

to Haynes to invest in various tribal-related industries, subject to the written approval of Think



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Finance. The note has matured, and not been repaid. The note provides that, in lieu of interest,

Think Finance will receive 50% of all dividends, fees, interest and capital appreciation earned by

the invested principal, net of taxes paid, in addition to repayment of the principal. Accordingly,

Think Finance brings this suit to collect the balance due under the note, including its share of the

dividends, fees, interest and capital appreciation earned by the investments in each of the tribal-

related industries.

                                              VII.
                                             FACTS

        25.     Think Finance is a company that provides technology, analytics, and marketing

services to financial businesses in the consumer lending industry.

        26.     Haynes is a businessman who specializes in business and industry investments

with Native American tribes. Prior to the execution of the notes, Think Finance and Haynes had

a previous business relationship dating back to 2011. Throughout the course of this ten-year

relationship, Haynes repeatedly represented to Think Finance that he was acting on behalf of

“Haynes Investments, Inc., a Texas corporation.” Haynes signed numerous documents which he

delivered to Think Finance in which he purports to act as an officer or director of Haynes

Investments, Inc., a Texas corporation. Haynes also sent “Invoices” to an affiliate of Think

Finance purportedly on behalf of Haynes Investments, Inc. Haynes further directed Think

Finance to wire money to a bank account at Wells Fargo Bank purportedly held in the name

Haynes Investments, Inc. Defendants admit that Haynes Investments, Inc. ceased to exist long

before Haynes signed any of these documents.

The Haynes/Think Finance Notes

        27.     On June 18, 2015, Haynes signed a Promissory Note in the amount of $5,269,000

payable to Think Finance, Inc. (the “Original Note”).


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        28.     On Occtober 20, 2017, Hayness signed an A
                                                        Amended annd Restated Promissory Note

in the am
        mount of $5,,269,000 pay
                               yable to Thiink Finance,, L.L.C. (thee “Amendedd Note”). A true

and correect copy of th
                      he Note is atttached to th
                                               his petition aas Exhibit A..

        29.     Haynees signed both notes ostensibly inn a represenntative capaccity for “Haaynes

Investmeents, Inc., a Texas
                      T     Corpo
                                oration”:




Haynes did
       d not discllose to Thin
                             nk Finance th
                                         hat the purpported makerr of the notees had, in reeality,

dissolved
        d more than twenty yearss earlier.

        30.     As described in th
                                 he Original Note:
                                             N

        The
        T monies will
                    w be invessted in Tribaal related inddustries and all returns ((the “Rate
        of Return”) from
                     f     the daate hereof un ntil the Note is paid inn full, Holdeer will be
        en
         ntitled to 50%
                    5      of all interest, feees, rents, rroyalties, diividends, annd capital
        ap
         ppreciation earned by the invested    d principal (net of taxxable paid), less any
        am
         mounts paidd as interest. . .

As descriibed in the Amended
                     A       No
                              ote:

        (b
         b) Payment of dividend ds, fees, inteerest and cappital apprecciation. Monies have
        been invested
                    d by Borrow  wer in triball related inddustries. In consideratiion of the
        Principal Am
                   mount owed to  t Holder un  nder this Noote, until thee Note is paaid in full,
        Holder
        H      shall be entitled to
                                 t receive 50  0% of all innterest, fees and dividennds earned
        by
         y the investted principaal (net of taaxes paid). Such paym    ment will bee made to
        Holder
        H      by Boorrower on thhe Maturity Date.

Essentiallly, the parties agreed to
                                  o split the profits from thhe investmennts made byy Haynes in tribal

related in
         ndustries usin
                      ng Think Fin
                                 nance’s mon
                                           ney.

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       31.     In the Original Note, the parties agreed that the funds from Think Finance were to

be invested either “in short term instruments, or instruments with a maturity of one year or less”

bearing interest of “not less than 10% per annum,” or “in long term projects, or instruments with

a maturity greater than one year (which will be approved by Holder)” targeting “20% as the

minimum annual return.”

       32.     In exchange for managing these tribal-related industry investments, Haynes would

become entitled to a management fee as described in the notes.

       33.     Over time, the notes were funded by deposits into bank accounts with Wells

Fargo and Origin Bank as directed by Haynes. Some of these accounts were in the name of

Haynes Investments, L.L.C., a limited liability company of which Haynes is the sole manager.

Haynes then “invested” the money in various other business entities.

       34.     Pursuant to both the Original Note and the Amended Note:

       3. APPROVAL OF INVESTMENTS:

              (a)    Borrower shall present to Holder ALL proposed investments of the
       principal. Holder has the right to deny any proposed investment for any reason.

                                                  ***
       6. NOTICES, ETC.

              All notices, waivers and other communications provided for hereunder shall be in
       writing. . .
                                                ***
       11. MISCELLANEOUS

              . . .This Note may not be amended or supplemented except in a writing signed by
       the Borrower and the Holder. No course of dealing and no failure on the part of the
       Holder to exercise, and no delay in exercising, any right hereunder shall operate as a
       waiver hereof. . .




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Therefore, Haynes was required to present to Think Finance in writing all proposed investments

of the principal, and no course of dealing between the parties to the contrary could operate as a

waiver of this requirement.

       35.    As funds accumulated for investment under the Original Note, Haynes presented a

single investment to Think Finance for approval. Think Finance rejected it.

       36.    In 2016, Think Finance contacted Haynes to determine what had become of the

funds he was to manage and invest in tribal-related industry investments. Think Finance learned

that Haynes had invested such funds into several businesses without Think Finance’s approval,

including several businesses in which Haynes, or entities he controls, personally owned a

business interest. Think Finance requested more detailed information concerning these business

investments from Haynes, but Haynes substantially failed to provide such information.

       37.    In 2017, Think Finance contacted Haynes to wind down the investments he was

managing and to accelerate repayment of the Original Note. Haynes indicated that it would take

him a year to wind down the investments.         Haynes also argued that winding down the

investments and accelerating repayment of the note would damage him, entitling him to a

discount for what Haynes would be giving up in order to call the underlying investments early.

The Amended Note is the result of these negotiations.

       38.    In accordance with the terms of the Amended Note, Haynes made various

mandatory prepayments as required by paragraph 2(b) of the Amended Note and has earned the

negotiated discount of $269,000 as described in paragraph 1(a) of the Amended Note. In

calculating the amount owed, Think Finance has given credit for this discount described in

paragraph 1(a) of the Amended Note. The negotiated discount of $269,000 constitutes an accord




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as to any damages claimed for winding down the investments and accelerating repayment of the

note.

        39.    The Maturity Date of the Amended Note is June 15, 2019, at which time the

remaining principal amount of the note became due and payable in accordance with paragraph

1(a) of the Amended Note. Think Finance’s 50% of all interest, fees, and dividends earned by

the invested principal (net of taxes) also became due and payable at the maturity date in

accordance with paragraph 1(b) of the Amended Note.

        40.    On June 10, 2019, Think Finance sent a letter to Haynes reminding him that the

Amended Note would be coming due. On June 13, 2019, Think Finance sent a letter to Haynes

with payment instructions presenting its claim for the net principal amount of $2,107,413,

together with 50% of all interest, fees, dividends and capital appreciation earned by the invested

principal (net of taxes) due under the Amended Note on June 15, 2019. This demand gives

Haynes full credit for the discount of $269,000 as described in paragraph 1(a) of the Amended

Note as well as for the $300,000 management fee described in paragraph 10 of the Amended

Note Haynes was entitled to if he timely paid the Amended Note.

        41.    Haynes has failed to pay the balance due. Think Finance seeks a judgment for the

full amount owed under the Amended Note.

        42.    Because Haynes has failed to pay the balance due on the maturity date, has failed

to provide a proper accounting of the tribal-related industry investments he was purportedly

managing, and has engaged in acts of self-dealing by investing the funds in businesses he himself

owns, Haynes was forfeited his $300,000 management fee. Think Finance seeks a judgment for

this amount as well.




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The Due Diligence Examination

       43.     In order to determine the amount of interest, fees, and dividends earned by the

invested principal (net of taxes) and to provide a short-term forbearance to enable Haynes to

liquidate a few remaining investments to pay Think Finance, the parties and their respective

counsel scheduled a due diligence examination of the debtor’s financial books and records at

7515 Lemmon Avenue, Hangar R, Dallas, Texas 75209. Haynes himself did not personally

participate but sent “his CFO” Randy Crawford.

       44.     At the due diligence examination on July 12, 2019, Randy Crawford produced a

single notebook containing copies of various notes and spreadsheets which he represented were

documentation of all the investments into which Think Finance’s monies were invested.

       45.     At the due diligence examination, Randy Crawford admitted that the

representations in the Original Note and the Amended Note that Haynes Investment, Inc. is a

Texas corporation are false and claimed that, to his knowledge, there has never been an entity

known as Haynes Investment, Inc.

       46.     At the due diligence examination, Randy Crawford refused to allow Think

Finance to make copies or to take photographs of the contents of the notebook. Subsequent to

the due diligence examination, the undersigned attorney requested copies of the contents of the

notebook on numerous; however, no such copies were provided. Through his attorneys, Haynes

also asserted that it is his position that the debt evidenced by the Amended Note is actually owed

by Defendant Haynes Investments, L.L.C., and not by himself individually or by Haynes

Investment, Inc.




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The 2014 SEP Investment

       47.    Think Finance’s funding of the Original Note was deposited initially into an

interest-bearing bank account at Wells Fargo. Apparently, the first investment made by Haynes

using these funds was to “2014 SEP Investment 2” on September 14, 2015, in the amount of

$70,000.00. Defendants did not present this proposed investment to Think Finance for approval,

and Think Finance did not approve this investment. Haynes insists that this investment was

repaid; however, Think Finance is unable to locate any record of such repayment in the

documents produced so far in discovery. In accordance with the parties’ agreement, such an

investment should have borne interest at a minimum of 10% per year.

The RJK Vending Loan & H&R Note

       48.    Through discovery in this case, Haynes has produced evidence of a loan of the

Think Finance money to H&R, an business entity formed by Haynes originally as RJK Vending,

L.L.C. On December 3, 2015, Haynes advanced $494,910.00 to it purportedly to purchase tax

stamps for tobacco products. Subsequently, he personally signed a revolving line of credit

promissory note dated March 1, 2016, in the maximum amount of $1,500,000 from H&R bearing

interest at the rate of 10% with no maturity date and a default interest rate of 18% (the “H&R

Note”). Haynes did not present this proposed investment to Think Finance for approval, and

Think Finance did not approve this investment.

       49.    H&R is a business venture between Haynes and a long-time business associate of

his. Its two members are Redlich and Haynes Investments, L.L.C. From its inception, H&R was

woefully undercapitalized.   Each of the two members only contributed $50 towards its

capitalization. Haynes did not tell Think Finance that he or his company was a member of H&R

before the H&R Note was signed.



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       50.     According to a spreadsheet produced by Haynes in discovery $582,587.15 was

owed under H&R Note as of May 29, 2019; however, the spreadsheet does not account for

interest accrued or paid under the H&R Note. Moreover, certain entries on the spreadsheets are

incorrect. Correcting these errors and adjusting for interest, over $850,000.00 remains due and

owing from H&R and Think Finance is entitled to more than $175,000.00 in interest paid to date.

Just Plane Maintenance

       51.     According to documents produced by Haynes in discovery, one of the investments

into which he invested Think Finance’s funds was a factoring loan to “Just Plane Maintenance.”

A business with that name operates out of the same Hangar R where Defendants office. Haynes

did not present this proposed investment to Think Finance for approval, and Think Finance did

not approve this investment.

       52.     According to a spreadsheet produced by Haynes in discovery, he advanced

$97,980.00 in connection with this investment and received $102,480.40 in payments. Think

Finance is entitled to 50% of the interest paid of $4,500.40, net of taxes paid if any.

The Spirit Notes

       53.     Through discovery in this case, Haynes has produced documents concerning three

separate notes from Spirit International Inc., (the “Spirit Notes”). This investment relates to an

LED lighting company in Carrollton, Texas. Haynes did not present this proposed investment to

Think Finance for approval, and Think Finance did not approve this investment.

       54.     One of the Spirit Notes is a revolving line of credit promissory note dated March

17, 2016, in the maximum amount of $150,000 bearing interest at the rate of 12% with a

maturity date of March 3, 2017, and a default interest rate of 18%.




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       55.     The second of the Spirit Notes is a revolving line of credit promissory note dated

April 13, 2016, in the maximum amount of $225,000 bearing interest at the rate of 17.5% with a

maturity date of July 11, 2017, and a default interest rate of 17.5%.

       56.     The third of the Spirit Notes is purportedly in the maximum amount of $300,000

was not presented for inspection.

       57.     According to a spreadsheet produced by Haynes in discovery, he has received

$694,022.84 in payments toward the Spirit Notes, and the balance owed by Spirit is $27,432.66,

plus additional accrued interest, which is personally guaranteed by Stewart.

       58.     Think Finance is entitled to 50% of the net interest paid of $19,022.84, plus 50%

of the balance remaining to be paid on the Spirit Notes, net of taxes paid if any.

The Srills Loans & Note

       59.     Through discovery in this case, Haynes has produced evidence of a loan of the

Think Finance money to Srills, an business entity of which Haynes was a member. On March

31, 2016, Haynes advanced $37,215.71 to it. Haynes has produced a revolving line of credit

promissory note dated March 1, 2017, in the maximum amount of $1,000,000 from Srills, L.L.C.

bearing interest at the rate of 10% with no maturity date and a default interest rate of 18% (the

“Srills Note”). This investment purports to relate to a natural pesticide company. Haynes         did

not present this proposed investment to Think Finance for approval, and Think Finance did not

approve this investment.

       60.     According to a spreadsheet produced by Haynes in discovery, $1,213,564.53 was

advanced under the Srills Note, and he received $135,919.78 in payments on the Srills Note.

Pursuant to the terms of the Srills Note, all of the payments reflected on the spreadsheet should

constitute interest paid on the Srills Note. Think Finance is entitled to 50% of the interest paid of



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$135,919.78, plus 50% of the interest remaining to be paid on the Srills Note, net of taxes paid if

any.

       61.     Srills, L.L.C. is a Minnesota limited liability company which has been inactive

and was administratively terminated on March 16, 2018. Haynes and Jeremy Rounsville were its

members. Haynes did not tell Think Finance that he was a member of H&R before the Srills

Note was signed. Haynes has recently represented to Think Finance that Rounsville previously

conveyed his interest in Srills to Haynes. He has also testified that Rounsville embezzled money

from Srills.

       62.     After Srills was administratively terminated, more than $360,000 was advanced to

Srills under the Srills Note. Because Srills ceased to exist as a separate legal entity, Haynes is

personally liable as a member of Srills for the debt incurred by Haynes ostensibly on its behalf

after it was administratively terminated.

       63.     Upon information and belief, Jeremy Rounsville has used the alias David

Peterson. Upon information and belief, Jeremy Rounsville registered “DAVID PETERSON” as

a word mark (serial number 88266457) to be used for “cryptocurrency exchange services;

cryptocurrency payment processing; cryptocurrency trading services; financial brokerage

services for cryptocurrency trading; and financial consultation in the field of cryptocurrency.”

Upon information and belief, as David Peterson, Jeremy Rounsville operated a company called

DPT Innovations, L.L.C/ d/b/a Arbitraging.co, a fictitious entity purportedly based in Singapore.

As David Peterson, Jeremy Rounsville has been accused of operating this company as a

cryptocurrency Ponzi scheme.




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       64.    In July 2019, Randy Crawford expressly represented that Srills has continued to

do business and was, even then, in the process of securing vendor agreements with Wal-Mart and

Tractor Supply.

       65.    The Srills Note is purportedly secured by “all assets and funds owned or held by

the Borrower.” A few days before the date of the Srills Note, Haynes formed Srills Technology

and subsequently transferred all of Srills’ intellectual property into Srills Technology.

Subsequently, Haynes claims that he took control of all of the remaining assets of Srills, and

transferred such assets to a new company named SafeDecide. SafeDecide has purportedly

assumed liability for the unpaid Srills Note. In essence, Haynes loaned $1.2 million of Think

Finance’s funds to his own company, looted that company of its valuable intellectual property,

and transferred all of its remaining assets to a new company that he owns and controls without

telling Think Finance.

The Tangent Gaming Note

       66.    Through discovery in this case, Haynes has produced a revolving credit loan note

dated May 1, 2016, in the maximum amount of $400,000 from Tangent Gaming TX, L.L.C.,

bearing interest at the rate of 10% with no maturity date and a default interest rate of 18% (the

“Tangent Gaming Note”). This investment relates to a business that purchased used gaming

machines to be placed at a casino with the Apache Tribe of Oklahoma.

       67.    Defendants did not present this proposed investment to Think Finance for

approval, and Think Finance did not approve this investment. This investment is similar to the

one investment that Haynes did present to Think Finance, and which Think Finance rejected.

       68.    Haynes signed the note as the manager of Tangent. Haynes did not tell Think

Finance that he was the manager of Tangent before the Tangent Gaming Note was signed.



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        69.     According to a spreadsheet produced by Haynes in discovery, $340,490 was

advanced to Tangent under the note, and it has never made a single payment. The Tangent

Gaming Note purports to be secured by all assets and funds owned or held by Tangent.

The YNS Debt

        70.     In 2017, Plaintiff’s representatives were told by Haynes and his representatives

that an investment in the amount of $395,000 was made in an investment known as YNS (the

“YNS Debt”), which Haynes represented is a development company that develops multi-family

housing and other projects. Haynes represented that this investment was bearing interest at the

rate of 10% per annum. Haynes produced no document pertaining to this investment. As the

designated representative of YNS, Haynes has testified that it was an “oral” note with an interest

rate of 10%. Haynes did not present this proposed investment to Think Finance for approval,

and Think Finance did not approve this investment.

        71.     When Randy Crawford was questioned about this particular investment, he stated

that he was not able to discuss this investment with Think Finance’s representatives, indicating

that he was under an “NDA.” Haynes contends that this investment has been repaid in full and is

now closed. Haynes has not accounted for the interest, fees, dividends and capital appreciation

earned by the invested principal (net of taxes) so that Think Finance can calculate the 50% owed

to it under the notes.

        72.     There are three separate “YNS” entities. YNS is a Delaware company owned by

Haynes’s spouse Yvonne. YNS-GC is a Texas limited liability company whose members are

Haynes and Yvonne Hopen. YNS-LP is a Texas limited partnership, whose general partner is

YNS.




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       73.      From documents produced in discovery, it appears Haynes loaned approximately

$750,000.00 to YNS from late 2016 through 2017. YNS used this money to develop a multi-unit

condominium project in Dallas known as the Hudson project. This “oral” note using Think

Finance money was a primary source of funding used by YNS in the developing the Hudson

project. During this time, YNS used commingled funds in its bank account, which included

money from the “oral” note to form YNS-GC. As Think Finance began asking questions the

YNS investment, Haynes formed YNS-LP and caused title to the Hudson project real property to

be transferred into YNS-LP.

Vast Display Networks

       74.     According to documents produced by Haynes in discovery, one of the investments

into which he invested Think Finance’s funds was “Vast Display Network.” Haynes did not

present this proposed investment to Think Finance for approval, and Think Finance did not

approve this investment.

       75.     According to a spreadsheet produced by Haynes in discovery, he advanced

$12,500.00 in connection with this investment and received $17,106.14 in payments. Think

Finance is entitled to 50% of the interest paid of $4,606.14, net of taxes paid if any.

SAAH Management Services

       76.     According to documents produced by Haynes in discovery, one of the investments

into which he invested Think Finance’s funds was a revolving line of credit note dated

November 1, 2016, signed by Haynes himself as a member of SAAH (the “SAAH Note”).

Haynes did not present this proposed investment to Think Finance for approval, and Think

Finance did not approve this investment.




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       77.     According to a spreadsheet produced by Haynes in discovery, he advanced

$239,484.96 in connection with this investment and received $239,708.82 in payments. Think

Finance is entitled to 50% of the interest paid of $223.86, net of taxes paid if any. In addition, it

does not appear that Haynes collect the full 12% interest specified in the SAAH Note. Think

Finance is entitled to 50% of the uncollected amounts due and owing under the SAAH Note, net

of taxes paid. In addition, Haynes appears to have given payment credit to SAAH for payments

which were not actually payments by SAAH on the SAAH Note such as a $50,000 payment

purportedly made on September 11, 2017, coded as “Haynes Investments Legal Fees.”

2H Lending Management Services

       78.     According to documents produced by Haynes in discovery, one of the investments

into which he invested Think Finance’s funds was a revolving line of credit note dated

September 12, 2017, signed by Haynes himself as the manager of 2H Lending Management

Services, L.L.C. (the “2H Note”). Haynes did not present this proposed investment to Think

Finance for approval, and Think Finance did not approve this investment.

       79.     According to a spreadsheet produced by Haynes in discovery, he advanced

$900,000.00 in connection with this investment and received $910,000.00 in payments. Think

Finance is entitled to 50% of the interest paid of $10,000.00, net of taxes paid if any. In addition,

it does not appear that Haynes collected the full 10% interest specified in the 2H Note. Think

Finance is entitled to 50% of the uncollected amounts due and owing under the 2H Note, net of

taxes paid.

The Haynes Investments, L.L.C. Note

       80.     According to documents produced by Haynes in discovery, one of the investments

into which he invested Think Finance’s funds was a revolving credit loan note dated October 1,



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2016, signed by Haynes himself on behalf of Haynes Investments, L.L.C. payable to Haynes

Investments, L.L.C. in the principal amount of $500,000.00 with interest at the rate of 10 percent

per annum (the “Haynes Investments, L.L.C. Note”). Haynes did not present this proposed

investment to Think Finance for approval, and Think Finance did not approve this investment.

       81.     According to a spreadsheet produced by Haynes in discovery, he advanced

$2,616,307.97 in connection with this investment and received $2,657,680.61 in payments. A

true and correct copy of this spreadsheet is attached to this petition as Exhibit C. It is apparent

that Haynes used these funds as a personal piggy bank, transferring $55,000.00 directly to

himself, using $290,000.00 for something he calls the “Hudson Project,” and even using $15,00

for a fuel tank repair of a corporate jet he owns through another company N73CL.

       82.     Before discovery in this case, Haynes never mentioned or produced the Haynes

Investments, L.L.C. Note or spreadsheet. Interestingly, the spreadsheet itself bears the date

December 6, 2019—well after discovery was served in this case and a mere five days before it

was produced in discovery.       A reasonable inference from the available evidence is that

Defendants fabricated the Haynes Investments, L.L.C. Note and spreadsheet after the fact to

“paper” the use of Think Finance’s funds as a personal piggy bank for Haynes and his companies

rather than for investments in tribal-related industry investments.

The CSB/Daugomah Note

       82.     Through discovery in this case, Haynes has produced a promissory note dated

February 20, 2017, in the face amount of $300,000 from John Daugomah and CSB Enterprises

L.L.C. bearing interest at the rate of 4% with a maturity date of September 20, 2019, and a

default interest rate of 15% (the “CSB/Daugomah Note”). This investment purports to relate to

the Crown Point Hotel being built on tribal lands.



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       84.     Haynes did not present this proposed investment to Think Finance for approval,

and Think Finance did not approve this investment.

       85.     The CSB/Daugomah Note has matured and is now due. Total interest due at

maturity was $31,000.00. Think Finance is entitled to 50% of all interest (net of taxes) pursuant

paragraph 1(b) of the Amended Note.

       86.     All conditions precedent have been performed or have occurred.

                                           VIII.
                                     CAUSES OF ACTION

Suit on Note

       87.     Think Finance is the holder of the Amended Note. Although Haynes signed the

Amended Note in a representative capacity for “Haynes Investment, Inc., a Texas corporation,”

there is no such Texas corporation.        Through his attorney, Haynes contends that Haynes

Investments, L.L.C. is the true maker of the Amended Note. Think Finance presented its claim

for payment, and neither Haynes nor Haynes Investments, L.L.C. has paid the just amount owed.

Think Finance requests that this court enter judgment in its favor and against Haynes and Haynes

Investments, L.L.C. for the principal balance owed of $2,107,413, together with 50% of all

interest, fees, dividends and capital appreciation earned by the invested principal (net of taxes).

Accounting

       88.     In lieu of interest, the Amended Note requires Haynes and/or Haynes

Investments, L.L.C. to pay Think Finance 50% of all interest, fees, dividends and capital

appreciation earned by the invested principal (net of taxes). Think Finance lacks sufficient

information to determine this amount. In accordance with the terms of the Amended Note,

Think Finance gave credit for a management fee with respect to such investments. Accordingly,

this agreement creates a formal or informal fiduciary relationship pursuant to which Haynes


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owes a fiduciary duty to account to Think Finance for the all interest, fees, dividends and capital

appreciation earned by the invested principal and for the taxes paid in connection with such

investments. Accordingly, Think Finance requests that this court order a complete accounting of

all investments made by Haynes and/or Haynes Investments, L.L.C. using the Think Finance

funds from the Original Note and the Amended Note, and a calculation of 50% of all interest,

fees, dividends and capital appreciation earned by the invested principal (net of taxes).

       89.     Pursuant to Rule 172 of the Texas Rules of Civil Procedure, the court has

authority to appoint an auditor or auditors to state the accounts between the parties and to make

report to the court as soon as possible. Think Finance requests that the court appoint such an

auditor and award reasonable compensation to such auditor to be taxed as costs of suit.

Breach of Fiduciary Duty

       90.     Haynes agreed to manage the investments of the Think Finance funds from the

Original Note and the Amended Note in tribal-related industry investments, and charged Think

Finance a $300,000 management fee with respect to such investments. Haynes further agreed to

present all proposed investments to Think Finance for approval. This agreement creates a formal

or informal fiduciary relationship pursuant to which Haynes owes Think Finance fiduciary duties

of full disclosure and loyalty.

       91.     Haynes breached these fiduciary duties by not presenting the proposed

investments to Think Finance for approval, by “investing” the funds in multiple business entities

owned in whole or in part by Haynes himself, and one owned by his wife, and by not accounting

for such investments. Notably, with respect to the few investments Haynes made in business

entities not owned by himself or his wife, the individual owners of such companies were either




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co-makers or guarantors whereas with respect to his own business entities, there are no

individual guarantors.

       92.     As a result of his breach of fiduciary duties, Think Finance seeks forfeiture of the

$300,000 management fee. In addition, Think Finance has been damaged to the extent that

Think Finance funds were invested in business entities owned by himself or his wife, and those

funds are not repaid by such business entities. Under these facts and circumstances, Haynes

should be personally liable for 100% of all principal and 50% of all interest, fees, dividends and

capital appreciation (net of taxes) earned by the principal invested in any business owned in

whole or in part by Haynes or his immediate family.

Fraudulent Inducement

       93.     Haynes induced Think Finance to loan him $5,269,000 with the false

representation that the loan was being made to Haynes Investment, Inc., a Texas corporation,

with a lengthy successful track record of facilitating investments in tribal related industries.

Haynes represented to Think Finance its monies would be invested in tribal related industries

and, in the Amended Note, that its monies had in fact been invested in tribal related industries.

In actuality, much of Think Finance’s monies were invested in various business enterprises

owned by Haynes himself or his cronies, including his wife and long-time business associates.

Like Haynes Investment, Inc., one of these business entities—Srills—no longer exists as a legal

entity. Because of its previous relationship with Haynes, Think Finance justifiably relied on

these representations to its detriment in making the loan evidenced by the Original Note and the

Amended Note. To the extent that Think Finance is unable to recoup all of the money advanced,

Think Finance has sustained actual damages as a proximate result of such representations. Think

Finance asks that the court award actual damages against Haynes, as well as exemplary damages



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for fraud against Haynes, for such fraudulent inducement, and estop Haynes from denying

individual, personal liability on the Amended Note.

Assumpsit / Money Had & Received (against H&R, Redlich, & Haynes Investments,
L.L.C.)

       94.      Think Finance’s money was invested into H&R without approval and such money

has not been repaid. H&R holds money which in equity and good conscience belongs to Think

Finance. Think Finance seeks judgment against H&R and Redlich only for the outstanding

balance owed as a result of the RJK Vending Loan and H&R Note.

       95.      The company form of H&R should be disregarded in this instance. Redlich and

Haynes Investments, L.L.C. deliberately undercapitalized H&R by making capital contributions

of only $50 each. In essence, they used the company form of H&R as a sham to perpetrate a

fraud on Think Finance by using Think Finance money, intended to be invested in tribal-related

industries, instead into a risky joint business venture.     Accordingly, Redlich and Haynes

Investments, L.L.C. should be jointly liable for the outstanding balance owed as a result of the

RJK Vending Loan and H&R Note.

Assumpsit / Money Had & Received (against Srills, Haynes, Rounsville, SafeDecide, &
Srills Technology)

       96.      Think Finance’s money was invested into Srills without approval and such money

has not been repaid. Srills holds money which in equity and good conscience belongs to Think

Finance.     Think Finance seeks judgment against Srills, Rounsville, SafeDecide and Srills

Technology only for the outstanding balance owed as a result of the Srills Loan and Srills Note.

       97.      Because Think Finance money was invested into Srills after it was

administratively terminated, Haynes and Rounsville as officers, directors, and managers of Srills

are personally liable for advanced made to Srills after March 16, 2018.



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       98.     All assets of Srills were transferred into Srills Technology and SafeDecide by

Haynes without reasonably adequate compensation. At the time of these transfers, advances had

been made to Srills of Think Finance money, and all assets of Srills were to be pledged as

collateral to repay such advances.      Because Haynes had actual knowledge of this security

interest, all assets of Srills Technology and SafeDecide remain subject to the Srills Note. To the

extent necessary, Think Finance requests that the court impose a constructive trust against all

assets of Srills Technology and SafeDecide to secure repayment of outstanding balance owed as

a result of the Srills Loan and Srills Note.

Assumpsit / Money Had & Received (against Tangent)

       99.     Think Finance’s money was invested into Tangent without approval and such

money has not been repaid. Tangent holds money which in equity and good conscience belongs

to Think Finance. Think Finance seeks judgment against Tangent only for the outstanding

balance owed as a result of the Tangent Gaming Note.

Assumpsit / Money Had & Received (against Assumpsit / Money Had & Received (against
YNS, YNS-GC, YNS-LP, Haynes, & Yvonne)

       100.    Think Finance’s money was invested into YNS without approval and such money

has not been repaid. YNS holds money which in equity and good conscience belongs to Think

Finance. Think Finance seeks judgment against YNS, YNS-GC, YNS-LP, and Yvonne only for

the amounts owed as a result of the YNS Debt.

       101.    The company form of YNS should be disregarded in this instance. Haynes and

Yvonne used the company form of YNS as a sham to perpetrate a fraud on Think Finance by

using Think Finance money, intended to be invested in tribal-related industries, instead into a

their own real estate development company. Haynes purports to have invested Think Finance’s

money into his own company, Haynes Investments, L.L.C., pursuant to a revolving line of credit


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note he kept secret from Think Finance until discovery in this case. This note reflects that it is

from Haynes Investments, L.L.C. to Haynes Investments, L.L.C. Haynes then purports to have

used this revolving line of credit to make an “oral” note from Haynes Investments, L.L.C. to his

wife Yvonne’s company, YNS. YNS then used this money to develop the Hudson project. He

and Yvonne then insured that title to the real property which constitutes the Hudson project was

conveyed to YNS-LP. They then formed YNS-GC as a separate entity in order to provide a

vehicle through which to funnel payments to one of Yvonne’s relatives hired as a project

manager. Accordingly, Haynes and Yvonne should be jointly liable for the outstanding balance

owed as a result of the YNS Debt.

       102.    YNS-GC and YNS-LP were formed by YNS with commingled money which

primarily consisted of Think Finance money invested into YNS. Real property which constitutes

the Hudson project was conveyed to YNS-LP. Under the Original Note, Think Finance is

entitled to 50% of all interest, fees, rents, royalties, dividends, and capital appreciation earned by

the invested principal (net of taxable paid), less any amounts paid as interest. Accordingly,

Think Finance is entitled to 50% of the appreciation on the Hudson project as a result of the

investment made.

Assumpsit / Money Had & Received (against SAAH)

       103.    Think Finance’s money was invested into SAAH without approval and such

money has not been repaid. SAAH holds money which in equity and good conscience belongs

to Think Finance.     Think Finance seeks judgment against SAAH only for the outstanding

balance owed as a result of the SAAH Note.




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Assumpsit / Money Had & Received (against N73CL)

       104.   Think Finance’s money was invested into N73CL for repairs and service to an

airplane owned by N73CL without approval and it appears such money has not been repaid.

N73CL holds money which in equity and good conscience belongs to Think Finance. Think

Finance seeks judgment against N73CL only for amounts advanced for repairs and service to the

airplane owned by N73CL.

Assumpsit / Money Had & Received (against 2H Lending)

       105.   Think Finance’s money was invested into 2H Lending without approval and such

money has not been repaid. 2H Lending holds money which in equity and good conscience

belongs to Think Finance. Think Finance seeks judgment against 2H Lending only for the

outstanding balance owed as a result of the 2H Note.

Assumpsit / Money Had & Received (against Daugomah & CSB)

       106.   Think Finance’s money was invested with Daugomah and CSB without approval

and such money has not been repaid. Daugomah and CSB hold money which in equity and good

conscience belongs to Think Finance. Think Finance seeks judgment against Daugomah and

CSB, jointly and severally, only for the outstanding balance owed as a result of the

CSB/Daugomah Note.

                                          IX.
                                     ATTORNEY FEES

       107.   It was necessary for Think Finance to retain attorneys of the law firm Bennett,

Weston, LaJone & Turner, P.C. to prosecute its claim for collection of the Amended Note. The

Amended Note expressly provides that maker promises to pay all out-of-pocket costs and

expenses including attorney fees incurred by the holder in connection with the collection and/or

enforcement of the note. Think Finance presented its claim to Haynes for payment more than


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thirty days before filing this suit. Think Finance is entitled to an award of reasonable and

necessary attorney fees pursuant to the express terms of the Amended Note and pursuant to

Section 38.001 of the Texas Civil Practice and Remedies Code.

                                           PRAYER

       Think Finance prays that this Court award judgment in its favor against Defendants

Haynes and Haynes Investments, L.L.C. for $2,107,413, together with 50% of all interest, fees,

dividends and capital appreciation earned by the invested principal (net of taxes) due under the

Amended Note, plus post-judgment interest as provided by law. Think Finance prays that this

Court award judgment in its favor against the other Defendants as requested in this amended

petition. Think Finance prays that the Court order an accounting and appoint an auditor as soon

as possible to determine the 50% of all interest, fees, dividends and capital appreciation earned

by the invested principal (net of taxes) due. Think Finance prays that the Court order that the

management fee of $300,000 is forfeited and that award that amount in addition to Think

Finance. Think Finance prays for reasonable and necessary attorney fees and for all costs of

court including the reasonable compensation of the auditor requested herein. Think Finance

prays for general relief.

                                                    Respectfully submitted,

                                                    /s/ John M. Frick
                                                    ___________________________________
                                                    John M. Frick
                                                    State Bar No. 07455200
                                                    jfrick@bennettweston.com




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                                                   BENNETT, WESTON, LAJONE & TURNER, P.C.
                                                   1603 LBJ Freeway, Suite 280
                                                   Dallas, Texas 75234
                                                   Tel: (972) 662-4901
                                                   Fax: (214) 393-4043

                                                   ATTORNEYS FOR PLAINTIFF
                                                   THINK FINANCE, L.L.C.

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Plaintiff’s Second Amended
Complaint was served on the following attorneys of record on this the 6th day of April, 2020 in
accordance with the Texas Rules of Civil Procedure:

David A. Walton                             Mason G. Jones
Bell Nunnally & Martin, LLP                 Bell Nunnally & Martin, LLP
2323 Ross Ave., Ste 1900                    2323 Ross Ave., Ste 1900
Dallas, TX 75201                            Dallas, TX 75201
Via EFM: dwalton@bellnunnally.com           Via EFM: mjones@bellnunnally.com


                                           _/s/ John M. Frick__________________________
                                           John M. Frick




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                             EXHIBIT A




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                           AMENDED AND RESTATED PROMISSORY NOTE


$5,269,000                                                                  Originally Dated: Jwie 18, 2015
                                                                            Amended and Restated as of
                                                                            October 20, 2017.

        FOR VALUE RECEIVED, HA YNES INVESTMENT, INC., (hereinafter referred to as the
"Borrower") promises to pay to the order of THINK FINANCE, LLC, a Delaware limited liability company
(the "Holder), the principal sum of FIVE MILLION TWO HUNDRED SIXTY-NINE THOUSAND
DOLLARS ($5,269,000), lawful money of the United States of America, or such lesser amount as shall be
outstanding from time to time (the "Principal Amount"), together with interest accrued thereon, at the rate and
on the tenns set forth below.

                       1. PAYMENT OF PRINC1PAL AND RETURNS ON INVESTMENT.
                       (a) Payment of Principal. The Principal Amount shall be due and payable (i) on JlUle 15,
 2019 (the "Maturity Date") or (ii) if earJier, upon a Mandatory Prepayment Event (as defined in Section 2),
 except as otherwise set forth herein. Borrower shall be entitled to a discount (the "Discount") against the
 Principal Amount, in the maximum amount of $269,000, equal to the amount that the Borrower foregoes by
 redeeming its Plain Green Note (defined below) ear1ier than its stated maturity date in order to make the
 Mandatory Prepayments in paragraph 2(b) below. The Discount and Management Fee (defined below) will be
 deducted from the outstanding Principal Amount to be paid on the Maturity Date.

                        (b) Payment of dividends. fees, interest and capital appreciation. Monies have been
 invested by Borrower in tribal related industries. In consideration of the Principal Amowit owed to Holder
 Wlder this Note, until the Note is paid in full, Holder shall be entitled to receive 50% of all interest, feesand
 dividends earned by the invested principal (net of taxes paid). Such payment will be made to Holder by
 Borrower on the Maturity Date.

                        (c) Interest; No Usurious Payments. Notwithstanding anything to the contrary contained
 herein or in any other document executed in connection herewith, the effective rate of interest hereunder shall
 not exceed the maximum effective rate of interest pennitted by applicable law or regulation.

                       (d) Place and Method of Payment. Payments of principal and interest and any other
 amounts due under this Note shall be paid to the Holder at the Holder's address of record as shown on the Note
 Register (as defined in Section 5 of this Note) or such other location designated by the Holder in writing to
 Borrower from time to time, and shall be made in currency of the United States of America as at the time of
 payment shall be legal tender for payment of public and private debts. Beginning February 1, 2018, the
 Borrower will pay to Holder all amounts received by Borrower as holder of the Plain Green Note (defined
 below).

                      (e) Business Day. If the date on which any payment required to be made under this
 Note occurs on a day other than a Business Day, such payment shall be due and payable on the next
 succeeding Business Day and such extension of time shall be included in computing interest in connection with
 such payment.
                      (f) Security. This Note is secured solely by the rights to the Borrower (i) to amoWlts
 payable to 1he Borrower under a certain Promissory Note, dated June 18, 2015~ between the Borrower and


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  Plain Green, LLC, a tribally-owned entity organized and existing under the Jaws of the Rocky Boy's Indian
  Reservation, Montana (the "Plain Green Note") and (ii) earnings or losses on funds derived from (i). In the
  Event of Default, Borrower agrees to forward any repayment the Borrower receives on the Plain Green Note
  directly to the Holder.

                       2. PREPAYMENT OF THIS NOTE.

                        (a) Optional Prepayment. The Borrower may prepay all or a part of the outstancting
                        Principal Amount without penalty or premium at any time without penalty.

                        {b) Mandatory Prepayments.       Each of the following shall constitute a "Mandatory
                        Prepayment Event": (1) the Borrower shall pay to Holder: on October 20, 2017, the
                        amount of$800,000; on November 20, 2017, the amount of $800,000; and on December
                        20, 2017, the amount of $400,000; and (2) upon the occurrence of an Event of Default
                        that is continuing, the Borrower shall (without any action being required of the Holder)
                        immediately repay all Principal Amount and accrued and unpaid interest then
                        outstanding wider this Note.

                       3. APPROVAL or INVESTMENTS:

                        (a) Borrower shall present to Holder ALL proposed investments of the principal.
 Holder has the right to deny any proposed investment for any reason.

                        (b) If Holder agrees to the proposed investment then Borrower will make the investment
 and:

                               (i)     The returns earned on the investment will be split SOo/o/50% each between
Borrower and Holder. The Borrower and Holder will mutually decide how the current earnings will be
managed, i.e., either paid out or reinvested.

                            (ii)  Any losses by way of the investment will be non-recourse to the
Borrower. AU losses will be netted against gains prior to any distributions of returns and any repayment of
principal on maturity date.

                       4. EVENTS OF DEFAULT. The following shall be an "Event of Default" het'eunder:

                        The failure of Borrower to observe or petfonn any material tenn, condition, agreement,
 covenant or provision or the breach of any representation or warranty, contained in this Note and, if capable of
 being promptly cured, the continued failure of the Borrower to observe or perfonn any such ten:n, condition,
 agreement, covenant or provision or cure any such breach for thirty (30) days after the Holder or other
 applicable party gives notice to Borrower thereof;

                       5. REMEDIES ON DEFAULT; NO WAIVER; ETC.

                In case any one or more Events of Default sball occur and be continuing, the Holder may (i) at its
election declare the entire unpaid balance of principal and all other swns due under this Note to be immediately
due and payable upon notice or demand (in which case. from and after an Event of Default, the unpaid balance
of principal and all other sums due from the Borrower to the Holder shall also be immediately due and payable);
and (ii) immediately and without demand exercise or cause to be exercised any rights and remedies provided in
this Note or which may be available to the Holder at law, in equity, by statute, or otherwise, without further
stay, any law, usage or custom to the contrary notwithstanding.
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                       6. NOTICES, ETC.

                 All notices. waivers and other communications provided for hereunder shall be in writing, and
 shall be deemed to be given (a) when delivered, if delivered by hand (with written confinnation ofreceipt) or by
 telecopy (as evidenced by receipt of a confinnation). (b) one Business Day after sending, if sent by nationally
 recognized overnight delivery specifying next day delivery (with written confinnation of receipt), or (c) three
 (3) days after depositing in the mai)s, if sent by certified mail with return receipt requested. All such notices,
 waivers and other communications shall be addressed to the party at the address next to their name at the
 beginning of this Note or, in each case, to such other addresses as shall be specified by notice.

                       7. COSTS AND EXPENSES.

                 The Borrower shall reimburse Holder upon demand, for all reasonable out-of-pocket costs and
expenses incurred in connection with the collection and/or enforcement of this Note or any amounts payable
pursuant hereto or with respect to any litigation or controversy arising from this Note (including. without
linritation, attorneys' fees) whether or not suit is actually instituted.

                       8. GOVERNING LAW: CONSENT TO JURISDICTION; WAIVER OF JURY TRIAL.

          TlllS NOTE AND ALL RELATED INSTRUMENTS AND AGREEMENTS WILL BE
DEEMED TO BE MADE IN THE STATE OF TEXAS. THIS AGREEMENT WILL BE
INTERPRETED AND THE RIGHTS AND LIABILITIES OF THE PARTIES HERETO
DETERMINED IN ACCORDANCE WITH THE LAWS OF THE STATE OF TEXAS, EXCLUDING
ITS CONFLICT OF LAWS RULES. THE BORROWER HEREBY IRREVOCABLY CONSENTS TO
THE EXCLUSIVE JURISDICTION OF THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF TEXAS, PROVIDED THAT NOTHING CONTAINED IN THIS
AGREEMENT WILL PREVENT THE HOLDER FROM BRINGING ANY ACTION, ENFORCING
ANY AWARD OR JUDGMENT OR EXERCISING ANY RIGHTS AGAINST THE BORROWER
INDIVIDUALLY, AGAINST ANY SECURITY OR AGAINST ANY PROPERTY OF THE
BORROWER WITIUN ANY OTHER COUNTY, STATE OR OTHER FOREIGN OR DOMESTIC
JURISDICTION. THE HOLDER AND THE BORROWER AGREE THAT THE VENUE PROVIDED
ABOVE IS THE MOST CONVENIENT FORUM FOR BOTH THE HOLDER AND THE
BORROWER. THE BORROWER WAIVES ANY OBJECTION TO VENUE AND ANY OBJECTION
BASED ON A MORE CONVENIENT FORUM IN ANY ACTION INSTITUTED UNDER THIS
AGREEMENT.

          EACH OF THE BORROWER AND THE HOLDER IRREVOCABLY WAIVES ANY
AND ALL RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY ACTION, PROCEEDING OR
CLAIM OF ANY NATURE RELATING TO TIDS AGREEMENT, ANY DOCUMENTS EXECUTED
IN CONNECTION WITH THIS AGREEMENT OR ANY TRANSACTION CONTEMPLATED IN
ANY OF SUCH DOCUMENTS. THE BORROWER AND THE HOLDER ACKNOWLEDGE THAT
THE FOREGOING WAIVER IS KNOWING AND VOLUNTARY.

                      9. SUCCESSORS AND ASSIGNS.

             This Note may be assigned or transferred by the Holder to any person or entity. The Borrower
may not assign or transfer thls Note or WlY of its rights hereunder without the prior written consent of the
Holder.


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                      10. MANAGEMENT FEE. Borrower wiH earn a 2% per annum management fee
through June 2018 based upon the average amount invested for the prior 12 months. The fee will be paid in
arrears. Such Management Fee is $300,000 over the term of the management agreement and will be paid on
June 15, 2019 through the deduction set forth in paragraph l(a) above.

                       11. MISCELLANEOUS.

                The provisions of this Note shall inure to the benefit of and shall be binding upon the Borrower
Wld the Holder, and their respective heirs, legal representatives, successors and permitted assigns. If any tenn,
provision, covenant or restriction of this Note is held by a court or a governmental agency of competent
jurisdiction to be invalid, void or wmnfo1·ceable, or to cause WlY party to be in violation of any applicable
provision of law, the remainder of the tenns, provisions, covenants and restrictions of this Note shall remain in
full force and effect and in no way shall be affected, impaired or invalidated. This Note may not be amended or
supplemented except in a writing signed by the Borrower and the Holder. No course of dealing and no failure
on the part of the Holder to exercise, and no delay in exercising, any right hereunder shall operate as a waiver
hereof, nor shall any single or partial exercise of any right hereunder or under this Note preclude any other or
further exercise thereof or the exercise of any other right. The remedies herein provided are cumulative and not
exclusive of any other remedies provided by law, in equity or otherwise. This Note and the other docwnents
referred to herein contain the entire agreement and understanding among the parties hereto with respect to the
subject matter hereof and supersede and preempt any prior or contemporaneous understandings, agreements or
representations by or among the parties, written or oral, which may have related to the subject matter hereof in
any way. The Borrower hereby waives presentment, demand, protest, notice of protest, dishonor and all
other notices or requirements of any kind, except as otherwise expressly required herein. The Borrower
hereby waives all laws exempting real or personal property from execution.

WITNESS WHEREOF, the parties hereto have caused this Note to be executed by their respective duly
authorized representatives, as of the date first written.


  BORROWER                                    HOLDER




  : $z:_
  HA YNES INVESTMENTS, INC., a                THINK FINANCE, LLC, a
                                              DeJaware limited liabiity company



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5888888888,F&D9-0.G8C3$!  I            5888888888/!$!$ %=%=
                                           0123456J                                            0123456N
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8884  $!4$K$!L!$!=         88888(&8/!$!=A
8'88: @9 @5&$ $!!4$          8'8888/&8!"$!: !$!=
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8<889 3% 3%$!$$ $! !          8<8888(&82"&89$ !43%
8888! $ $!!=#! '&&8/                 8888:%$ %4$!
8?885&4% 9$!:;$!!&                      8?88!=! &8$ %$#!$!$!=
8B8888(&8)*+,-&.//018H%!!&              8B88 @5&$ $!$ !A
9883%"3%$!= %!!4  $!"       98888/&8$#4 !&8*%!
9988:4 9$!:;$!!$!":@9$!    99884$!$4!%  %
988I4  4! % $!# !$ A         988!&
9888888888,F&D9-0.G8C3$!  &               9888888888,F&D9-0.G8/!! 7!
9'8888888889.6D9H6--G8!":!4!4&             9'88O%$!$ $!= $ % !
958888(&8)*+,-&.//018C:&824 %4"            9588%!$$!!"$!:,&.!$
9<88!:67$$985!$              9<88 $  !$!$
9888.!'<&89$!!      9888!&
9?88$!:! %$#%!        9?888888888,-&.//0G8/ %$!%$!=$!
9B88!%$!==! %4$9$!:            9B88!4A8*%!"$!: %4! = $!
88;$!!$=A                                    88!$$!&8! !&
9888888888,F&D9-0.G8C3$!  &               9888888888,F&D9-0.G80%4= 
8888888889.6D9H6--G89$ :  $            88 4 $!%  %!%:%
88!= 9! $ !&          88A
'8888(&8)*+,-&.//018F$=&8/!!$ %=              '888888888,-&.//0G8D 4#!$!$!%
588! "=%$$H#        588 ! #&
ooopqrstuvpwxy                  zrstuv{|}~wp|tx~|t~ts                  
          qxt||~||sq~x~{| ||to|x||zxrsx~||~|~wswx 094                   
Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                       Page 98 of 110 PageID 115
                  \]^Y_`PXa`]bYcXY_XPdeXfWX\YggY_hX̀YYicXY_XPde
PQQRSTUVWXYVUWXZT[V        deXiQUfUTXhjVTUWXRTXklmnlmlkln       jUWXlkeel
                                            01234567                                                01234565
89888888888 8                        8988+)-*(+8*,-=/*,8*!-!*FF
8888888888 8!                                 888+,,=/*,8*!-!*5@8+
8"888888888#$%#&'#8()*+)*,,-             8"88/*/+*(+-!*(*E+/A!*++/A!E(+-
8.88/*0                                            8.88-+ J+/E!*5@*A8=*-97/*,
81888888888 82                                8188,FF58*!E-97/*,'A+&5)*
83888888888 82                                 8388@E/*/0
84888888888#$%#&'#8!85*,,-              8488888*/
8688/*1178                                     868888I8-8+)7!8-!*/+@,*8
89888888888:/(;                            8988'A+&+-8**,K9<E<<<E/*/0
9<888888888#$%#&'#8-++-=)++)           9<88888*/
9988*, +>* 4+-7*++**,? @!         998888I8B*/+/A=/E-97/*,
988-+8+11"788=/ *-/*               988@E*-=*,!*/*AA/+*E(*
9"888888888 8AA+)-8*B*7*             9"884E<<<E<<<E+)-0
9.88-/*-7*++*  !++)-           9.88888&*7!8*8E!8-7
91888888888-C+*/AA,*-+8*7 =*         9188-7+-A,*,@!-+)*
9388A8)8-5/*,++A8      938888I8---+=/++/*8-!*
9488D7A+*/*A,*-7A++,,E-*7+*      9488/+@,*88A*A+*A+)*!*
9688--+ -@-8*8*+-B*       96887*/+)(* -!*+*=-A,*,-+
9988-7*++**(**B*-7*++*FF*       9988J+/L+-+)-0
<88*AA*(/*A* C+*=*A         <88888-+*=-A,*,'A+&L=E!E
988*7+/-AA*(-7*++**=B*     988-+ J+/E!
88-/*/A+*                                      8888I8!*/+@E!*-+E=*1<*
"888888888(5*A!)*+)*)*            "88K3<E<<<0
.88*-,**,+@8+E*5A+*A             .88888-@*A** -FF=(--
188 /-+8,*E!* *(E!7*/+@         188FF=(-+)+)*,+-8++**,-
                                            0123456G                                                0123456M
898877*-(*--A+)=*-             8988-+ )8E!E=A+@-5/*/
888/*,++AA8                             88888I8+-(-!!*=A+@-**-
8"888888888HE!* *(E(5)*+)*                8"88=+)A+*-+7*7*/+)A+*-+7
8.887*/+@*+**7@  !,*8       8.88/8*,++*(+--+ J+/E=/!*+5
8188-@+)*+/A*-8*,-A8            8188/+@!++*A,0
8388)8--(7+)=*                     83888888888 8=B/+**-,*8
848888I8:H2  ;8*EB*=/AE                  84888888888#>#85**,-*E
8688 !E-A8)8-!*5          8688!
8988A+)=*+A+)*-8)8,         898888I8:H2  ;8--+/A*,>+*
9<887*8+*!*-((+/+)E+)-0          9<88=/*,7!8E(-+/-+9"E<<<8*-E/*/0
9988888*/                                        9988888-5/*/
98888I8!8**---=/FF58               98888I8--7/FF-A8
9"88*!E(-*5-FF(-*(-)8(+-0         9"88)87!8A+)*-7++)*
9.888888888 8  !E-+ 8!=(            9.88-7*8+*!*-((+/+)E+)-0
9188-*AFF+,-+,*8+*+A,+/*,++AFF    9188888-5/*/
9388*5 *(*(!*-*-(--++FF         938888I8-+/-!*/5+/A*!+A*,0
9488+,++E+-*A=-=B/*,*8*+*8,          9488888*/
9688*FF+,+5*/*,++AFF+,+5*             968888I8N7*+/+**,!*/*A
9988/*,++A(-*-7+*-)8E-    99888888888-!*-=/*,+/*8*
<88!*/(-                                   <888*!@A!*/+@A*,!*(*E
9888888888#>#8*5 *(-*(=*-          988++/A!*+/A!E(+--+ J+/0
88/*,++A+!FF                                  88888/5-+ *,!*-
"888888888 82-8  /E-+ -+            "8888I8*5=A+@--@!*-
.888+)-==A(+-A                          .88C+*8 *((+)*+8E*
18888I8:H2  ;8!8*-=/FF*                188(*FFA8B*-+AA!C+/A!8O
ooopqrstuvpwxy                  zrstuv{|}~wp|tx~|t~ts                  
          qxt||~||sq~x~{| ||to|x||zxrsx~||~|~wswx 095                       
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                  [\]X^_OẀ_\aXbWX^WOcdWeVW[XffX^gW_XXhbWX^WOcd
OPPQRSTUVWXUTVWYSZU        cdWhPTeTSWgiUSTVWQSWjklmklkjkm       iTVWkddk
                                          01234567                                              0123456K
8988                                    8988#38$99# 
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888 !"#!8$%!8$%              88899( 
8&88'(8$%)'(9*+, %-..///0919&8     8&888888888$%(3  
8288!.3 8$% 3           8288!39!#3,
8+884#5!6.87!,86,    8+889#! LA#
8*88"(93'93          8*88!, 3 ,39
808899!8. !8 $        8088'( #(#3
8188(  ::33           8188#
9/88(!!;  <                       9/8888888887$%  9#
99888878$( %##,!                    9988$%#,99# ,
9888888888=>?776@8A!87  84$%         988 #!9#3# !
988!3"                      988( ( #3
9&888888888$!!! ,(!%           9&888888888=DE$4>6?@87 =# E#
9288 6AB$5,$#%!,               92883=?!
9+88=?!8C$99#!(         9+888888888$ ##9=?#%93
9*88( 9                                     9*88#39# 8493
908888888887,=#,!!<               90889 #3
91888888888=DE$4>6?@8F#,,         9188(  
/88$::$99$%         /88((#39# 
988 87,$%!            9888888888=>?776@8>33!
88                                         88#<
888888888=>?776@8G,$ 9,            888888888=DE$4>6?@8M999,
&889 ! 9(! 3          &88%::$%!9 (
288 3                     288
                                          01234566                                              0123456N
8988#3 !3#            89888888888=>?776@8A!87!# 
8888888888=DE$4>6?@8D 87%            888(#  !%  
888#9#3 9 #3      888: 93##! 
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                                  CAUSE NO. DC-19-13904

   THINK FINANCE, LLC,                       §                    IN THE DISTRICT COURT
          Plaintiff,                         §
                                             §
   v.                                        §
                                             §
   L. STEVEN HAYNES d/b/a/HAYNES             §
   INVESTMENTS, INC., HAYNES                 §
   INVESTMENTS, LLC, H&R WHOLESALE,          §
   LLC, f/k/a RJK VENDING FUNDING,      LLC, §
   REDLICH INVESTMENTS, LLC, SRILLS, LLC, §                      160th JUDICIAL DISTRICT
   JEREMY ROUNSVILLE, SAFEDECIDE, LLC,       §
   SRILLS TECHNOLOGY, LLC, TANGENT           §
   GAMING TX, LLC f/k/a YNS SERVICES LLC, §
   YNS GENERAL CONTRACTORS, LLC, YNS         §
   INVESTMENTS, LP, YVONNE HOPEN, a/k/a §
   YVONNE HOPPEN, SAAH MANAGEMENT §
   SERVICES, LLC, N73CL, LLC, 2H LENDING     §
   MANAGEMENT SERVICES, LLC, JOHN            §
   DAUGOMAH,         CSB ENTERPRISES, LLC,   §
          Defendants.                        §                   DALLAS COUNTY, TEXAS

                              ORDER GRANTING
           JOINT MOTION TO ABATE PROCEEDINGS PENDING SEmEMENT

           The Court, having considered the Joint Motion to Abate Proceedings Pending

     Settlement ("Motion to Abate") filed by Plaintiff Think Finance, LLC, and Defendants,

     L. Steven Haynes, Haynes Investments, LLC, H&R Wholesale, LLC, Redlich

     Investments, LLC, Srills, LLC, Safedecide, LLC, Srills Technology, LLC, Tangent

     Gaming TX, LLC, YNS Services, LLC, YNS General Contractors, LLC, YNS Investments,

     LP, Yvonne Hopen, SAAH Management Services, LLC, N73CL, LLC, 2H Lending

     Management Services, LLC, John Daugomah, and CSB Enterprises, LLC, finds that the



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     Motion to Abate is meritorious and should be granted. It is therefore

            ORDERED that the Joint Motion to Abate Proceedings Pending Settlement is

     hereby GRANTED, and all proceedings in this case shall be ABATED until March 30,

     2021, unless and until the court is notified by written motion that the abatement should

     be lifted and the case reinstated or that the case should be dismissed with prejudice.

            SIGNED this   'l,\Q~ay of August, 2020.


                                              Judge Aiesha Redmond
                                              160th Judicial District Court
                                              Harris County, Texas

     APPROVED AS TO FORM:


           By: Isl Tohn M. Frick                     By: Isl David A. Walton
               John M. Frick                             David A. Walton
               Texas Bar No. 07455200                    Texas Bar No. 24042120
               jfrick@bennettweston.com                  dwalton@bellnunnally.com
               Bennett, Weston, LaJone, &                Bell Nunnally & Martin LLP
               Turner, P.C.                              2323 Ross A venue, Suite 1900
               1603 LBJ Freeway, Suite 280               Dallas, Texas 75201
               Dallas, Texas 75234                       Tel. (214) 740-1445
               Tel. (972) 662-4901                       Fax (214) 740-5745
               Fax(214)393-4043                          Counsel for Defendants
            Counsel for Think Finance, LLC




                                                 2

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Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                       Page 102 of 110 PageID 119


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 on the date and to the persons listed below. The rules governing
 certificates of service have not changed. Filers must still provide a
 certificate of service that complies with all applicable rules.
 Debbie Archer on behalf of David Walton
 Bar No. 24042120
 debbiea@bellnunnally.com
 Envelope ID: 45572720
 Status as of 8/21/2020 10:22 AM CST

 Associated Case Party: THINK FINANCE, L.L.C.

  Name                 BarNumber Ema II                         TimestampSubmitted     Status

  Taylor Wilson                   twilson@bennettweston.com 8/20/2020 5:47:50 PM       SENT

  John MichaelFrick               jfrick@bennettweston.com      8/20/2020 5:47:50 PM   SENT



  Associated Case Party: L.STEVENHAYNES

  Name                BarNumber Email                        TimestampSubmitted Status

  Debbie Archer                 darcher@bellnunnally.com     8/20/2020 5:47:50 PM   SENT

  Alissa Green                  agreen@bellnunnally.com      8/20/2020 5:47:50 PM   SENT

  David A. Walton               dwalton@bellnunnally.com 8/20/2020 5:47:50 PM       SENT

  Mason G.Jones                 mjones@bellnunnally.com      8/20/2020 5:47:50 PM   SENT



  Case Contacts

   Name             BarNumber Email                          TimestampSubmitted     Status

   David Walton                 dwalton@bellnunnally.com 812012020 5:47:50 PM       SENT

  Anthony Begen                 abegon@bellnunnally.com      8/20/2020 5:47:50 PM   SENT

   Susan Shores                 sshores@bellnunnally.com 8/20/2020 5:47:50 PM       SENT




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     JOHN MICHAEL FRICK
     BENNETT WESTON LAJONE &
     TURNER PC
     1603 LBJ FREEWAY
     SUITE 280
     DALLAS TX 75234
     ANTHONY J BEGON
     BELL NUNNALLY & MARTIN LLP
     2323 ROSS A VE
     STE 1900
     DALLAS TX 75201
     DAVIDA WALTON
     BELL NUNNALLY & MARTIN LLP
     2323 ROSS A VE SUITE 1900
     DALLAS TX 75201
     RANDY HOWRY
     HOWRY BREEN & HERMAN LLP
     1900 PEARL STREET
     AUSTIN         TX 78705




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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

KIMETRA BRICE, EARL BROWNE, and §
JILL NOVOROT,                   §
      Plaintiffs,               §                 MISC. ACTION NO.
                                §
v.                              §                   (Relates to Case No. 3:18-cv-1200-
                                §                  WHO, in the United States District
HAYNES INVESTMENTS, LLC, and L. §                 Court, Northern District of California)
STEVEN HAYNES,                  §
      Defendants.               §

             DECLARATION OF L. STEVEN HAYNES IN SUPPORT OF
                       MOTION FOR PROTECTION

       I, L. Steven Haynes, hereby declare, pursuant to 28 U.S.C. § 1746, that the

following statements are true and correct, to the best of my knowledge and belief, after

due inquiry described herein.

       1.     I am a resident of Dallas, Texas.

       2.     I am a party in the matter known as Case No. 3:18-cv-1200-WHO, Kimetra

Brice et al. v. Haynes Investments, LLC, et al., pending in the United States District Court

for the Northern District of California (the “California Lawsuit”).

       3.     I am also one of the many defendants in the matter known as Cause No.

DC-19-13904, Think Finance, LLC v. L. Steven Haynes, et al., pending in the 160th Judicial

District Court of Dallas County, Texas (the “Texas State Court Lawsuit”).

       4.     The parties in the Texas State Court Lawsuit privately and mutually

negotiated and entered into a confidential settlement and release agreement, effective


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August 7, 2020, resolving all disputes and controversies in the Texas State Court

Lawsuit (the “Settlement Agreement”).

      5.       As part of the Settlement Agreement, the parties mutually and expressly

agreed that they would maintain the terms of the settlement and the reasons therefore

as strictly confidential, and that no party would disclose, share, or publish in any

manner that information to any third party at any time unless required to do so by

process of law.

      6.       The confidentiality provision is a material term in the Settlement

Agreement without which me or the other defendants would not have been willing to

enter into the Settlement Agreement, and it remains material to me and the other

defendants to maintain the confidentiality of the Settlement Agreement.

      I, the undersigned, declare under penalty of perjury that the foregoing is true

and correct.

      Dated: March 4, 2021              _____________________________
                                        L. Steven Haynes




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Michael Witsch

From:                                      Anna C. Haac <ahaac@tzlegal.com>
Sent:                                      Thursday, March 04, 2021 3:23 PM
To:                                        Michael Witsch
Cc:                                        Andrew Guzzo; Jon Boughrum; Leonard Bennett; Mallory Morales
Subject:                                   RE: Haynes deposition follow-up [IWOV-IDOCS.FID3386122]


Thanks for letting us know Michael.

Anna C. Haac ■ Tycko & Zavareei LLP ■ www.tzlegal.com
1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
p 202.973.0900 x 105 ■ f 202.973.0950

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From: Michael Witsch <MWitsch@atllp.com>
Sent: Thursday, March 4, 2021 3:04 PM
To: Anna C. Haac <ahaac@tzlegal.com>
Cc: Andrew Guzzo <aguzzo@kellyguzzo.com>; Jon Boughrum <JBoughrum@atllp.com>; Leonard Bennett
<lenbennett@clalegal.com>
Subject: RE: Haynes deposition follow-up [IWOV-IDOCS.FID3386122]

Anna,

Haynes’s motion for a protective order with respect to the confidential terms of the Texas settlement agreement about
which Plaintiffs wish to inquire should be filed today—we are just waiting on a signature.

Upon review of the deposition transcript, we have determined that the portions designated confidential do not need to
retain that designation, so you may consider the designation withdrawn.

Thank you,
Mike




Armstrong Teasdale LLP
Michael C. Witsch | Partner
2005 Market Street, 29th Floor, One Commerce Square, Philadelphia, PA 19103
DIRECT: 267.780.2016 | FAX: 215.405.9070
mwitsch@atllp.com
www.armstrongteasdale.com
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        Case 3:21-mc-00023-N-BT Document 3 Filed 03/04/21                                        Page 107 of 110 PageID 124
From: Michael Witsch
Sent: Friday, February 26, 2021 1:48 PM
To: 'Anna C. Haac'
Cc: Andrew Guzzo; Jon Boughrum; Leonard Bennett
Subject: RE: Haynes deposition follow-up [IWOV-IDOCS.FID3386122]

Fair enough. I’m away from the office and travelling through Sunday, but we’ll file the motion next week in that case.
The transcript arrived yesterday.

Thanks,
Mike




Armstrong Teasdale LLP
Michael C. Witsch | Partner
2005 Market Street, 29th Floor, One Commerce Square, Philadelphia, PA 19103
DIRECT: 267.780.2016 | FAX: 215.405.9070
mwitsch@atllp.com
www.armstrongteasdale.com
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From: Anna C. Haac [mailto:ahaac@tzlegal.com]
Sent: Friday, February 26, 2021 1:26 PM
To: Michael Witsch
Cc: Andrew Guzzo; Jon Boughrum; Leonard Bennett
Subject: RE: Haynes deposition follow-up [IWOV-IDOCS.FID3386122]

Mike,

Didn’t realize that about the transcript. We do want to inquire further about the note, so expect that you will be filing a
protective order. Please let us know your ETA on this.

Thanks,
Anna

Anna C. Haac ■ Tycko & Zavareei LLP ■ www.tzlegal.com
1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
p 202.973.0900 x 105 ■ f 202.973.0950

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From: Michael Witsch <MWitsch@atllp.com>
Sent: Tuesday, February 23, 2021 8:45 AM
To: Anna C. Haac <ahaac@tzlegal.com>
Cc: Andrew Guzzo <aguzzo@kellyguzzo.com>; Jon Boughrum <JBoughrum@atllp.com>
Subject: RE: Haynes deposition follow-up [IWOV-IDOCS.FID3386122]

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Hi Anna,

I recall that we left it at you were going to caucus on your side about whether Plaintiffs intended/needed to pursue that
line of questioning further and circle back about whether a motion would be necessary. What was the outcome of that
dialogue?

We’re otherwise waiting on the transcript. Although we requested it be expedited, the reporter is in Texas and was
without power for much of the time since the deposition because of the storms there. If you say we need to, we can file
the motion shortly after we have the transcript. My hope is that won’t be necessary, but please let us know.

Thanks,
Mike




Armstrong Teasdale LLP
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DIRECT: 267.780.2016 | FAX: 215.405.9070
mwitsch@atllp.com
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From: Anna C. Haac [mailto:ahaac@tzlegal.com]
Sent: Tuesday, February 23, 2021 1:18 AM
To: Jon Boughrum
Cc: Michael Witsch; Andrew Guzzo
Subject: RE: Haynes deposition follow-up

CAUTION:           EXTERNAL EMAIL

Yes, please provide the documents. Also, Michael stated that he was going to file a protective order because he
instructed Haynes not to answer questions relating to Think finance’s $4 million note. Can you please provide the status
on that.

Anna C. Haac ■ Tycko & Zavareei LLP ■ www.tzlegal.com
1828 L Street, NW ■ Suite 1000 ■ Washington, DC 20036
p 202.973.0900 x 105 ■ f 202.973.0950

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From: Jon Boughrum <JBoughrum@atllp.com>
Sent: Monday, February 22, 2021 10:20 AM
To: Anna C. Haac <ahaac@tzlegal.com>
Cc: Michael Witsch <MWitsch@atllp.com>
Subject: Haynes deposition follow-up

Anna,
                                                                          3
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I understand that during your deposition of Steven Haynes you asked about certain Pepper Hamilton memos. We’ve
looked into this subject and found that one of the memos was produced by Haynes in discovery (see attached
document). The other memos were part of the group of documents we believed were protected by Plain Green’s
attorney-client privilege with Pepper Hamilton and which we withheld from production and gave to Plain Green’s
counsel to assert a privilege objection. Based on my e-mails, it looks like Andrew and I had an e-mail exchange on
November 5, 2019 in which I said I was free to discuss the Plain Green privileged documents and Andrew said he would
call me the following day. I don’t have any notes which suggest that Andrew ever called me to discuss the
documents. Regardless, Plain Green’s counsel has confirmed to me that they no longer wish to assert privilege over the
documents so I can produce them to you if plaintiffs still want the documents (I presume you do, but please confirm).

Thanks,




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Michael Witsch

From:                                                                                                                                                                Trashuna Salaam <trashuna.salaam@gmail.com>
Sent:                                                                                                                                                                Wednesday, February 17, 2021 7:58 PM
To:                                                                                                                                                                  Michael Witsch
Cc:                                                                                                                                                                  transcripts@huseby.com; Stephani Catapano
Subject:                                                                                                                                                             Rough Draft Transcript_Stephen Haynes_Deposition 02-12-21
Attachments:                                                                                                                                                         Stephen Haynes Deposition - 02-12-21 - Rough Draft.pdf



CAUTION:                                                                                                                                                EXTERNAL EMAIL


Good evening,

Please find the above-referenced rough draft deposition transcript
attached to this email.

I apologize that I wasn't able to send this out sooner, but we have
been dealing with severe power outages here in Texas; and we just
got power back at our house today. I truly appreciate your patience
and understanding as I work my hardest to get the final
certified transcript out as soon as I can.

If you have any questions or concerns, please do not hesitate to
contact me.

Best regards,
                                                                                                                                                              Trashuna Salaam
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